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                  Exhibit 1
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                                                                                                                              US008737961B2



a2)    United States Patent                                                                         (10) Patent No.:                         US     8,737,961 B2
       Ma etal.                                                                                     (45) Date of Patent:                             May 27, 2014
(54)    METHOD AND APPARATUS FOR                                                              2007/0033044             Al       2/2007   Yao
        INCREMENTALLY DETERMINING                                                             2008/0227463             Al       9/2008   Hizume et al.
                                                                                              2008/0233945             Al*      9/2008   Gummadi et al.               455/422.1
        LOCATION CONTEXT
                                                                                                                                                          .........




                                                                                              2008/0248815             Al      10/2008   Busch
                                                                                              2009/0089166             Al       4/2009   Happonen
(75)    Inventors:    Yiming Ma, Fremont, CA (US); Rich
                      Hankins, San Jose, CA (US); David
                                                                                                                                          PP
                                                                                                                  FOREIGN PATENT DOCUMENTS
                      Racz, Palo Alto, CA (US)
                                                                                             GB                        2348777 B          10/2000
(73)
 73)    Assi           Nokia C Corporation,
         Assignee: : Nokia            tion, E Espoo FI
                                                                                                                            OTHER PUBLICATIONS
        Notice:
                      Subject to ot,disclaimer,theterm ov this
                      OSC (b) b
                                                             under
                                                                                             International search report and written opinion for corresponding
                                                                                             international application No. PCT/FI2010/050655 dated Dec. 28,
                                                                                             2010, pp. 1-12.
(21) Appl No.:                 ,
                                                                                             Blei, D., et al.: Latent Dirichlet Allocation. Journal of Machine
                                                                                             Learning         Research, 2003, pp. 1-30,      http://www.cs.princeton.edu/~
(22)    Filed:        Sep.   23, > 2009                                                      blei/papers/BleiNgJordan2003.pdf.
                                                                                             Chen, M.,  et al.: Practical Metropolitan-Scale Positioning for GSM
                                                                                             Phones. International Conference on Ubiquitous Computing, 2006,
(65)                       Prior Publication Data
                                                                                             pp.    1-18,                  intel-research.net/Publications/Seattle/
        US 2011/0070863 Al                Mar.   24, 2011

(51)    Int.                                                                                                                      (Continued)
        HO4M 1/66                   (2006.01)                                                Primary Examiner
                                                                                                                                     .



                                                                                                                                Kwasi Karikari
        HO4M                        (2006.01)                                                (74) Attorney, Agent,                           Ditthavong Mori & Steiner,
        HO4M 3/16                   (2006.01)                                                PC.
                                                                                                                                or Firm  —




(52)    U.S.C.
        USPC                      455/410; 455/411; 455/435.1
(58)
       1
        Field of Classification Search
        OLS)      On
                                          455/410, 411, 435.1
                                                                                             (67)                                ABSTRACT
                                                                                             Techniques to derive or predict location context for a user of
        See application file for complete search history.                                    a mobile device include receiving signal data that indicates a
                                                                                             set of one or more distinct signal sources from which signals

(56)                       References Cited                                                  are received at the mobile device for each of multiple different
                                                                                             times. The method further comprises determining whether
                  U.S. PATENT DOCUMENTS                                                      the mobile device is moving outside a specified area at a
                                                                                             current time based on the signal data. The method further

           iyess aI
       7,065,446 B2
                                    Sfowart
                            6/2006 Chou
                                          etal.                                              comprises incrementing a count for a stationary state associ-
                                                                                             ated with the set of one or more distinct signal sources at the
       7,096,030 B2         8/2006 Huomo                                                     current          time, if the mobile device is determined                to be not
       7,263,441 Bl         8/2007  Janky
                                        et al.
                                                                                             moving outside the specified area. The method also com-
 2003/0014491 Al
                      ‘x            Miyazawa
                                   Horvitz et al.
                                                                 340/988                     prises delivering a service to the mobile device based on the
                                                                                             stationary state.
 2003/0182394 Al            9/2003  Ryngleret al.
 2006/0160540 Al            7/2006 Strutt                                                                              15   Claims, 23   Drawing Sheets

                                                                                                    WNCREENTAL STATE
                                                            RECEIVE CURRENT DATAIN SIGNAL DATASTREAM             301
                                                                                 J
                                                            CLASSIFY CURRENT TIME AS MOVING/NOT MOVING          “303
                                                                                             5

                                                                             ONT es
                                                             UPDATE                                UPOATE
                                                            STATIONARY                           TRANSITION
                                                              STATES:                              STATES



                                                                             FFIGIENT DAT)
                                                                         FORPREDICTIONS?

                                                                                                 PREDICTNEXT
                                                                                                   TRANSITION
                                                                                                      STATE



                                                                      DELIVER SERVICE BASED ON
                                                                      SURRENT/PREDOCTED STATE

                                                                                        uy
                                                                         ere
                                                                                              Cee)




                                                                                                                                                    WSOU_585_8737961-0000308
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                                                           US    8,737,961       B2
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Otsason, V.,   et al.: Accurate GSM Indoor Localization. International    guage Summary.
Conference Ubiquilous Computing, 2005, pp. 1-18, hitp://www.
               on

                                     -indoorGSM.pdf.
placelab.org/publications/pubs/ubicomp2005                                *
                                                                              cited by examiner




                                                                                                                      WSOU_585_8737961-0000309
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                                     FIG. 1A

                                     SERVER
                                      HOST                  134   DATABASE



                      132
                      LOCATION                                                 136
                      CONTEXT                                          USER STATE
                      SERVICE                                            RECORDS




                                                                        | WIRELESS
                    103                                                       LINKS
                    NETWORK LINK

      140 SERVER                                                USER   EQUIPMENT
      HOST


                          142                         103
                          LOCATION               LOCATION
                                                 CONTEXT
                          BASED
                          SERVICE                  CLIENT


                                     FIG. 1B

                            ™
                                                    150
                      160b                    MOBILE TERMINAL




       “soe /
 GSM BASE STATION
                                         162a
                             WIFI ACCESS POINT
                                                                       162b




                                                                              WSOU_585_8737961-0000310
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                                                             225 STREAM
                              224                        WITH MOVEMENT
                      MOVEMENT DETECTION
                             wour |
         221                  226                               228
      ANNOTATION       INCREMENTAL STATE                STATE PREDICTION
        MODULE          LEARNING MODULE                     MODULE

                     22 LEARNING                                  229
                                                                  CURRENT/
                                                                  PREDICTED
                                                                  STATES
                            230 DATABASE
                                                                240
                                                          APPLICATION
                        234 TRANSITION STATES                   API




                                                242 EXTERNAL   APPLICATION




                                                                        WSOU_585_8737961-0000311
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                                        FIG. 2C
    250 STATIONARY STATE RECORD
            251 USER ID/TAG/ICONTEXT               258 PID| Z)
    252       204a                  206a            254b                 256b
     STATE|} FIRST SET OF           FIRST           SECOND SET OF        SECOND
     ID (=Z) | |_TRANSMITTER IDS     OUNT           TRANSMITTER IDS       OUNT



                                            FIG. 2D

   260 TRANSITION STATE RECORD | 964 user ip|| 270 PRIOR STATE             AND COUN
                                                                                      269
                           266a
                            TIME                                     266b| |267b| |268b
                          CONTEXT           |DURATION]   IDURATION




                                                                                      WSOU_585_8737961-0000312
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                      NOLLOIGSYd ONY
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        7H                 SN                 JO p              PLOT   ARI      qu9}¥g
             Case 6:20-cv-00585-ADA Document 172-1 Filed 06/28/23 Page 7 of 46
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                            FIG. 4
                                                     400
                                                     MOVEMENT
                                                     DETECTION



         DEFINE CURRENT WINDOW ENDING AT CURRENT TIME
                                                                     401


       DEFINE PREVIOUS WINDOW ENDING BEFORE CURRENT TIME
                                                                     403


                     DETERMINE SIMILARITY OF
               SIGNAL DATA STREAM IN TWO WINDOWS                     405




                         INDOW SIMILARI
                           > MOVEMENT

                             HRESHOLD?



            NOT MOVING                        MOVING
                                                             409




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SL£0000-196ZE28
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             Case 6:20-cv-00585-ADA Document 172-1 Filed 06/28/23 Page 9 of 46
91£0000-196ZE28
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                                 NO GaSV€ SALVLS                SNOWY CGALNEIYLSIC
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                           (IS | 3IVLS LNSYSS4I0 ¥ OL ONINOILISNVYL)d 40 WNS
                                                  (IS | IS)d
                                         (IS | ONINOLLISNVYL LON)d
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                                    ed               JUNLW34 SIL YOd !S        NOLLISNVYL
                                               NI NOLLWHNd 30 (©)             NvaW ANINYaLaG      |:
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                                 NOILVUNG          ONY                SWIL         GNV
                                     A NOILVYNG HLIM             NOLLISNVYL SLVadN
                                                                                  bZ TINN ONY
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                   2=      (12) JWI WON                                           (22) JIWIS OL
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         Case 6:20-cv-00585-ADA Document 172-1 Filed 06/28/23 Page 10 of 46
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                        FIG. 6B                   650
                                                  TEMPORAL
                                                  FEATURE
                                                  PRECEDENCE


                                   654a



                                                    653c
    WEEKEND           WEEKEND
    MORNING          AFTERNOON




 Corn)               AFTERNOON
                                    Cwet)
                                   652b




                        NON-       654b
                      VACATION




                                                             WSOU_585_8737961-0000317
8l£0000-L96ZEZ28
            NOSM
                                                 -
                                             (0Z 0Z)= 0S
                                           ‘A'L-xS |              =   (XS)d
                                                     OL}    NOS
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                                                 MIL         X
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                          ws =}S GNV
                         -
                      (02 0Z)= 0S                                                             :
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                     ‘A‘L-Is | 18)d) XV (IS)
                                                                                    -
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                        WOIL/ (0-3) w
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              SOIL SWIL JO W          ANINNSLSG
             ALVLS AYVNOILVLS      )
                 IXAN LOIGAYd
                             002                           Sls
        7H          SN                     €Z JO 6                    PLOT    ARI        qu9}¥g
         Case 6:20-cv-00585-ADA Document 172-1 Filed 06/28/23 Page 12 of 46
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                                      FIG. 7B
                                                                   750
                                                                   VITERBI PATH
                                                                   AMONG
                                                                   TRANSITION
                                                                   STATES
                                                               (



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                    7
                        Cams                ‘




                   06                           1.0

                               20-20: 0.6

                             783            0
                         x

                                 22-22
                               20-20:0.1    4     9




        752 TIME




                                                                                      WSOU_585_8737961-0000319
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                               FIG. 8A

                                                         800
                                                         LOCATION
                                                         CONTEXT
                                                         CLIENT
                                                         DATA




                              FIG. 8B

      850 CONTEXT   SERVER INTERFACE


       852 USER   ID AND CONTEXT



        854
        LIST OF
        TRANSMITTER IDS




                                                                    WSOU_585_8737961-0000320
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                                        903
               901




                                                          WSOU_585_8737961-0000321
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                             FIG. 9B




    901




                                                          WSOU_585_8737961-0000322
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                                                                       FIG. 10A




                                                      reeset iinet
                                                      here
                                                     ewe




                                                                       FIG. 10B
                                          on
                                           ta

                                                on




                                                                         WSOU_585_8737961-0000323
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                                   T     T   T     T    T   T7]

                                                 1106                FIG. 11A




                                   amt
                                                                    1115
                                                                    1114




                                                                      WSOU_585_8737961-0000324
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                                                             FIG. 12A




                                                             FIG. 12B



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    wecrreds




               ion




                                                             WSOU_585_8737961-0000325
  Case 6:20-cv-00585-ADA Document 172-1 Filed 06/28/23 Page 20 of 46


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                                                            FIG. 13A




                                                            FIG. 13B




                                                          WSOU_585_8737961-0000326
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                                                        FIG. 13D




                     1302   mays




                                                          WSOU_585_8737961-0000327
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                                                                      FIG. 14A




                                                                      FIG. 14B
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               Edof
                            die
                          iftpe
                 ERGRE




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                                                                 on
                                                            4.




                         1402   Min   support AS}




                                                                      WSOU_585_8737961-0000328
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                                     FIG. 15

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                                                                        J




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     5




                             GSM /                 QTY Wi    QT2WiFi
         1504                        1502




                                                                       WSOU_585_8737961-0000329
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  FIG. 16


                   1680                      1684                   1690
                                           INTERNET
                  LOCAL                                           INTERNET
                                            SERVICE
                 NETWORK
                                           PROVIDER




                                   1678                                  1692
                1682            NETWORK LINK
                HOST                                                    SERVER




                                                                                1600
                        1670
                 COMMUNICATION
                   INTERFACE
                                                      1610
                                                      BUS
                                                                1608
                                                              STORAGE
                                                               DEVICE
                        1604
                       MEMORY



                        1602                                     1620
                   PROCESSOR                                 APPLICATION
                                                              SPECIFIC IC

                        1606
                   READ ONLY
                    MEMORY




                    1616                         1612                    1614
                  POINTING
                                            INPUT DEVICE                DISPLAY
                   DEVICE




                                                                             WSOU_585_8737961-0000330
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    FIG. 17



       1700
              \
                   PROCESSOR
                       1703




                                   MEMORY
                                     1708




                                                          WSOU_585_8737961-0000331
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          FIG. 18
    MOBILE STATION
             1801,



                          1
  1109                                   1805
             AUDIO
           INTERFACE

                                       DSP
                          I

                              Zz
   1823
                                                           Modulator        Up-
                          I   Oo                                         Converter           1818
                          |   1s
          1811    1845    W   lo
                              a


                                       MCU
                 MEMORY
                                                                       Battery Interface
                                                                             &
                                                                        Power Control
                 1851                 1803
                                                                           1820




                                                                                            WSOU_585_8737961-0000332
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                                                         US 8,737,961 B2
                                 1                                                                             2
           METHOD AND APPARATUS FOR                                         at   mobile device for each of a plurality of different times.
                                                                                 a

          INCREMENTALLY DETERMINING                                         The apparatus further comprises means for determining
               LOCATION CONTEXT                                             whether the mobile device is moving outside a specified area
                                                                            atacurrent time of the plurality of different times based on the
                        BACKGROUND                                          signal data. The apparatus further comprises means for incre-
                                                                            menting a count for a stationary state associated with the set
   Service providers (e.p., wireless, cellular, etc.) and device            of one or more distinct signal sources at the current time, ifthe
manufacturers are continually challenged to deliver value and               mobile device is determined to be not moving outside the
convenience to consumers by, for example, providing com-
                                                                            specified area. The apparatus further comprises means for
pelling network services. A popular application is delivering          10
                                                                            delivering a service to the mobile device based on the station-
services to a user of a wireless device based on the device’s                        state.
                                                                            ary
location, and many mobile devices include Global Position-                    According to another embodiment, an apparatus compris-
ing System (GPS) receivers that provide geolocation of the                  ing at least one processor, and at least one memory including
device to about 30 meter accuracy. While suitable for many
purposes, there are problems delivering services based on              15   computer program code, the at least one memory and the
GPS data. One problem is that the power consumption in                      computer program code configured to, with the at least one
continuously monitoring on-device GPS is high. It is still not              processor, cause the apparatus to receive signal data that
                                                                            indicates a set of one or more distinct signal sources from
possible for most of the mobile phones to continuously trace                which signals are received at a mobile device for each of a
a user for more than a relatively short period (e.g., 3 hours)
without charging. A second problem is that the storage cost                 plurality of different times. The apparatus is also caused to
for storing GPS traces is also high. A third problem is that it             determine whether the mobile device is moving outside a
is still not efficient and effective to derive a context for a user,        specified area at a current time of the plurality of different
               a
e.g., at or near usual spot (such as cafe, gym, work or home)               times based on the signal data. The apparatus is also caused to
based on determining similarity of different GPS traces. It is              increment a counter for a stationary state associated with the
desirable to derive context, such as “work” or “lunch” or                   set of one or more distinct signal sources at the current time,
“recreation,” to be used to tailor network services. However,               if the mobile device is determined to be not moving outside
current techniques for deriving location context from geolo-                the specified area. The apparatus is also causcd to initiate
cation data are computationally intensive and do not scale                  delivery of a service to the mobile device based on the sta-
well to thousands of users of the service.                                  tionary state.
                                                                       30
                                                                               According to another embodiment, a method comprises
            SOME EXAMPLE EMBODIMENTS                                        facilitating access to, including granting access rights for, a
                                                                            user interface configured to receive signal data that indicates
   Therefore, there is a need for an approach to derive or                  a set of one or more distinct signal sources from which signals

predict location context for a user of a mobile device, or both,            are received at a mobile device for each of a plurality of
that scales well to many users, such as incrementally deter-           35   different times. The method further comprises facilitating
mining location context.                                                    access to, including granting access rights for, a user interface

   According to one embodiment, a method comprises receiv-                  that delivers a service to the mobile device based ona station-
ing signal data that indicates a set of one or more distinct                ary state associated with a set of one or more distinct signal
signal sources from which signals are received at a mobile                  sources al a lime when the mobile device is determined to be
device for each of a plurality of different times. The method          40   not moving outside a specified area based on the signal data.
further comprises determining whether the mobile device is                     Still other aspects, features, and advantages of the inven-
moving outside a specified area at a current time of the plu-               tion are readily apparent from the following detailed descrip-
rality of different times based on the signal data. The method              tion, simply by illustrating a number of particular embodi-
further comprises incrementing a count for a stationary state               ments and implementations, including the best mode
associated with the set of one or more distinct signal sources         45
                                                                            contemplated for carrying out the invention. The invention is
at the current time, ifthe mobile device is determined to be not            also capable of other and different embodiments, and its
moving outside the specified area. The method also com-                     several details can be modified in various obvious respects, all
prises delivering a service to the mobile device based on the               without departing from the spirit and scope of the invention.
stationary state.                                                           Accordingly, the drawings and description are to be regarded
    According to another embodiment, a computer-readable               50   as illustrative in nature, and not as restrictive.

storage medium carrying one or more sequences of one or
more instructions which, when cxccuted by onc or morc                                   BRIEF DESCRIPTION OF THE DRAWINGS
processors, cause an apparatus to receive signal data that
indicates a set of one or more distinct signal sources from                    The embodiments of the invention are illustrated by way of
which signals are received at a mobile device for each of a            55   example, and not by way of limitation, in the figures of the
plurality of different times. The apparatus is also caused to               accompanying drawings:
determine whether the mobile device is moving outside a                        FIG. 1A is a diagram of a system capable of incrementally
specified area at a current time of the plurality of different              determining location context, according to embodiment;
                                                                                                                             one
times based on the signal data. The apparatus is further caused                FIG, 1B is a diagramof distinct signal sources from which
to increment a count for a stationary state associated with the        60   signals are received at a mobile terminal, according to one
set of one or more distinct signal sources at the current time,             embodiment;
if the mobile device is determined to be not moving outside                      FIG. 2A is   a   diagram of a signal data stream, according to
the specified area. ‘(he apparatus is also caused to delivering             one      embodiment,
a service to the mobile device based on the stationary state.                    FIG, 2B is     diagram of the components of a location
                                                                                                  a

    According to another embodiment, an apparatus comprises            65   context service            according to one embodiment;
                                                                                                  module,
means for receiving signal data that indicates a set of one or                   FIG. 2C is a diagram ofa stationary state record, according
more distinct signal sources from which signals are received                to   one    embodiment;




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     FIG. 2D is   a   diagram ofa   transition state record,   according          skilled in the art that the embodiments of the invention may be
to   one   embodiment;                                                            practiced without these specific details or with an equivalent
   FIG. 3 is a flowchart of a process for incrementally deter-                    arrangement. In other instances, well-known structures and
mining location context, according to one embodiment;                             devices are shown in block diagram form in order to avoid
   FIG. 4 is a flowchart of a process to detect movement for                      unnecessarily obscuring the embodiments of the invention.
the process of FIG. 3, according to one embodiment;                                  FIG. 1A is a diagram of a system 100 capable of incremen-
   FIG. 5 is a flowchart ofa process to incrementally update a                    tally determining location context, according to one embodi-
stationary state for the process of FIG. 3, according to one                      ment. This embodiment does not require the excessive power
embodiment;                                                                       consumption, storage, computational resources or user
      FIG. 6A is a flowchart ofa process to incrementally update             10   involvement of prior art approaches.
a    transition state for the process of FIG. 3, according to one                    To address this problem, instead of predicting the exact
embodiment;                                                                       geo-coordinates where a user is about to go, system 100 of
     FIG. 6B isa diagram of precedence for multiple temporal                      FIG. 1A introduces the capability to predict the location state
features, according to onc cmbodiment;                                            that the user is probably transiting to or from. As used herein,
   FIG. 7A is a flowchart of a process to predict the next                   15   each location state for   a user   refers to   a   set of one    or more

transition state for the process of FIG. 3, according to one                      anchoring points/regions in space, and the context is gleaned
embodiment;                                                                       from those anchoring points or user comments or communi-
   FIG. 7B is a diagram ofa Viterbi path among most probable                      cations when associated with those anchoring points. The
transition states, according to one embodiment;                                   prediction task results in a sequence of predicted location
   FIG. 8A is a diagram of location context data at a client                      states for a given time window aftcr query is made. By
                                                                                                                                 a

process, according to one embodiment;                                             solving this problem accurately and efficiently, set of  a          new

  FIG. 8B is a diagram of location context interface                at   a        location based services (LBS) are enabled, which can smartly
server process, according to one embodiment;                                      recommend information to a user based on his/her current and.
 FIG. 9A and FIG. 9B are maps of transmitter coverage for                         future location states.
GSM cells and WiFi access points, respectively, according to                         In certain embodiments, an Incremental Location-State
some     embodiments;                                                             Acquisition and Prediction (iLoc) framework is provided to
     FIG. 10A is      a   graph of a ratio of moving periods to non-              address the prediction problem by utilizing the sensor infor-
moving periods            for a mobile terminal, according to one                 mation on a user’s mobile device. ILoc incrementally learns
embodiment;                                                                       the location states by constantly monitoring the signal envi-
  FIG. 10B is a graph of number of stationary states for a                   30   ronment of the mobile device. Learning and prediction mod-
mobile terminal accumulated incrementally over time,                              ules are tightly integrated into one single framework. As a
according to one embodiment;                                                      result, iLoc is capable of updating location-states continu-
   TIG. 11A and l'IG. 11B are graphs of cumulative distribu-                      ously, and simultaneously predicting future location states.
tion function of most frequent stationary states for a mobile                        As shown in FIG. 1A, the system 100 comprises mobile
terminal accumulated incrementally over time for GSM cells                   35   user equipment (UE) 101 having connectivity to server host

and WiFi access points, respectively, according to some                           130 and server host 140 via a communication network 105.
embodiments;                                                                      By way of example, the communication network 105 of sys-
   FIG. 12A and FIG. 12B are graphs of time to build prob-                        tem 100 includes one or more networks such as a data net-
ability models of transition slales compared to other                             work (not shown), a wireless network (not shown), a tele-
approaches, for GSM cells and WiFi access points, respec-                    40   phony network (not shown), or any combination thereof. It is
tively, according to some embodiments;                                            contemplated that the data network may be any local area
   FIG. 13A through FIG. 13D are graphs of prediction accu-                       network (LAN), metropolitan area network (MAN), wide
                                                                                  area network (WAN), a public data network (e.g., the Inter-
racy for moving and non-moving transition states for GSM
cells and WiFi access points, respectively, according to some                     net), or any other suitable packet-switched network, such as a
embodiments;                                                                 45   commercially owned, proprietary packet-switched network,
   FIG. 14A and FIG. 14B are             graphs
                                     of number of              predic-            e.g., a proprietary cable or fiber-optic network. In addition,
tions made for different minimum thresholds for             probability           the wireless network may be, for example, a cellular network
of  occurrence of a stationary state              (called min support),           and may employ various technologies including enhanced
according to some embodiments;                                                    data rates for global evolution (EDGE), general packet radio
   FIG. 15 is a graph of average time to makea prediction for                50   service (GPRS), global system for mobile communications
moving and non-moving mobile terminals for           cells and                    (GSM), Internet protocol multimedia subsystem (IMS), uni-
WiFi access points, according to some embodiments;                                versal mobile telecommunications system (UMTS), ctc., as
   FIG. 16 is a diagram of hardware that can be used to                           well as any other suitable wireless medium, e.g., microwave
                                                                                  access (WiMAX), Long Term Evolution (LTE) networks,
implement an embodiment of the invention;
   FIG. 17 is a diagram of a chip set that can be used to                    55   code division multiple access (CDMA), wideband code divi-
implement an embodiment of the invention; and                                     sion multiple   access (WCDMA), wireless              fidelity
                                                                                                                                        (WiFi),
   FIG. 18 is a diagram of  a mobile terminal (e.g., handset)                     satellite, mobile ad-hoc network (MANET), and the like.
that can be used to implement an embodiment of the inven-                            The UE 101 is any type of mobile terminal or portable
tion.                                                                             terminal including a mobile handset, station, unit, device,
                                                                             60   multimedia tablet, Internet node, communicator, desktop
           DESCRIPTION OF SOME EMBODIMENTS                                        computer, laptop computer, Personal Digital Assistants
                                                                                  (PDAs), or any combination thereof. It is also          contemplated
   A method and apparatus for           incrementally determining                 that the UE 101 can support any type of interface to the user
location context are disclosed. In the       following description,               (such as “wearable” circuitry, etc.). The UE 101 communi-
for the purposes of        explanation,
                                numerous          specific details are       65   cates with the network 105 using one or more wireless links
set forth in order to       provide thorough understanding of the
                             a                                                    107. An example mobile terminal is described in more detail
embodiments of the invention. It is apparent,           however, to one           below with reference to FIG. 18. The     server host
                                                                                                                                  130 orserver




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host 140 is any mobile or fixed terminal; and each communi-              received from distinct signal sources, such as signals that
cates with the network 105 through a network link 103 that               form wireless links 107. As used herein, the term stationary
may be wired or wireless.                                                wireless transmitter refers to any wireless transmitter used for
   The mobile VE 101 includes a location context client pro-             wireless communications, which persists in one location for
cess 103 and the server host 130 includes a location context             an extended period of time that is long compared to the time
service process 132 to determine the location context of the             for determining the location context of a mobile terminal,
UE 101. This location context is then provided to other net-             €.g., persists in one location for more than about a week.
work applications, such as location based service process 142            Although various embodiments are described with respect to
on server host 140. The location context service 132 employs             wireless fidelity (WiFi) access points and global system for
a database 134 with one or more user state records 136,             10   mobile communications (GSM) base stations, it is contem-
described in more detail below.                                          plated that the approach described herein may be used with
   By way of example, the UE 101 and host 130 or host 140                other wireless communication transmitters, such as any of the
comumunicate with each other and other components of the                 transmitters used for network communications described
communication network 105 using well known, new or still                 with reference to communications network 105.
developing protocols. In this context, a protocol includes set
                                                           a        15      FIG. 1B is a diagram of stationary wireless transmitters
of rules defining how the network nodes within the commu-                from which signals are received simultaneously at a mobile
nication network 105 interact with each other based on infor-            terminal, according to one embodiment. The mobile terminal
mation sent over the communication links The       protocols  are        150 is an   example     of mobile UE 101. It is assumed for
effective at different layers of operation within each node,             purposes of illustration that the mobile terminal 150 is a
from gencrating and recciving physical signals of various                cellular telephone that communicates with GSM base sta-
types, to selecting a link for transferring those signals, to the        tions, and includes a WiFi network card that communicates
format of information indicated by those signals, to identify-           with any WiFi access points within range. As depicted in FIG.
ing which software application executing on a computer sys-              1B, the mobile terminal is within range of, and therefore
tem sends or receives the information. The conceptually dif-             exchanges data packets with, three GSM base stations 160a,
ferent layers of protocols for exchanging information over a             1605, 160c (collectively referenced hereinafter as GSM base
network are described in the Open Systems Interconnection                stations 160) of a cellular telephone network. The mobile
(OSI) Reference Model.                                                   terminal is also within range of, and therefore may exchange
   Communications between the network nodes are typically                data packets with, two WiFi access points 162a, 162 (col-
effected by exchanging discrete packets of data. Each packet             lectively referenced hereinafter as WiFi access points 162)
typically comprises (1) header information associated with a        30   connected to the Internet.
particular protocol, and (2) payload information that follows               According to an illustrated embodiment, the location con-
the header information and contains information that may be              text client 103 continuously samples the signal fingerprints
processed independently of that particular protocol Often, the           from a user’s mobile terminal 101. At each fixed sampling
data in the payload for the particular protacol includes a               time interval (e.g., 30 seconds), it samples the signals
header and payload for a different protocol that is said to be      35   received from all wireless transmitters in range and sends data
encapsulated in the lower layer protocol.                                indicating the transmitters of those signals to the location
   Processes executing on various devices, such UE 101 and               context service 132. For example, two signal fingerprints/
server host 130 or server host 140, often communicate using              vectors are sampled: the GSM cell identifiers; and the WiFi
the client-server model of network communications. The cli-              access point identifiers, (e.g., a service set identifier (SSID)
ent-server model of computer process interaction is widely          40   which is the name ofa wireless local area network (WLAN)).
known and used. According to the client-server model, a                  The signal fingerprints are sent to the location context service
client process sends a message including a request to a server           132 in a signal data stream of one or more data packets.
process, and the server process responds by providing a ser-                FIG. 2A isa diagram of asignal data stream 200, according
vice. The server process may also return a message with a                to one embodiment. The signal data stream 200 includes a
response to the client process. Often the client process and        45   first time field 201a, and a first sipnal data field 203a, fol-
server process execute on different computer devices, called             lowed by a second time field 2014 and a second signal data
hosts, and communicate via a network using one or more                   field 203, followed by subsequent fields indicated by ellipsis
protocols for network communications. The term “server’’ is              209. In some embodiments, the information in the time field
conventionally used to refer to the process that provides the            201a, 2015 and others indicated by ellipsis 209 (collectively
service, or the host on which the process operates.   Similarly,    50   referenced hereinafter as time field 201) is inferred from the
the term “client” is conventionally used to refer to the process         time that the data is received; and the time field 201 is omitted
that makes the request, or the host on which the process                 from the signal data stream 200. Each signal data ficld 203a,
operates. As used herein, the terms “client” and “server” refer          2035 and others indicated by ellipsis 209 (collectively refer-
to the processes, rather than the hosts, unless otherwise clear          enced hereinafter as signal data field 203) holds data that
from the context. In addition, the process performed by a           55   indicates identifiers for one or more distinct signal sources
server can be broken up to run as       multiple    processes on         within range for one or more types     (e.g.,  WiFi or GSM) of
multiple hosts (sometimes called tiers) for reasons that                 wireless communications. For example, the signal data field
include reliability, scalability, and redundancy, among others.          203 holds data for GSM base stations 160 and WiFi access
A well known client process available on most nodes con-                 points from which signals are received simultaneously at
nected to a communications network is a World Wide Web              60   mobile terminal 150.
client (called a “web browser,’ or simply “browser”? that                   Any method may be used to indicate the wireless transmit-
interactsthrough   messages formatted   according        hyper-
                                                     to the                                         signal
                                                                         ter identifiers (IDs) in the       data field 203. For example,
text transfer protocol             with any of a large number of         in some embodiments, the code for the letters and numerals of
servers called World Wide Web (WWW) servers that provide                 each ID are explicitly included. In some embodiments the
web pages.                                                          65   identifiers are of variable length are hashed to a fixed length
   According to the illustrated embodiment, location context             number of bits. In some embodiments, a binary vector is
for the UE 101 is derived, at least in part, from signals                defined with a vector position for each wireless transmitter




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encountered, with vector size increasing over time. A zero in                   The user input is anything input by the user that is passed to
a vector   position
                  indicates the      corresponding transmitter is           the location context server, including any response to prompts
not in range of the UE 101 at    a particular time, while a one             for identifying the user’s current location, to anything the user
indicates it is in range. In some embodiments the vector is                 does or says at the mobile device, including applications
included in the signal data field 203. In some embodiments, a               opened and closed. For example, in some embodiments,
list of the non-zero positions of the vector is indicted in the             when a primary stationary state is identified, as described in
signal data field 203. The vector may be formed at the location             more detail below, the user is prompted to label the user’s

context client 103 before transmission or by the location                   current location with a word or phrase that can be used to tag
context service 132 upon receipt. In general, the contents ofa              the associated stationary state. In some embodiments, the
single signal data field at time interval i, is a set represented by   10   user’s messages or voice calls are monitored while the user is
vector vi of one or more wireless transmitter identifiers a,                in one of the primary stationary states, and the words are
e.g.,                                                                       mined to derive a context for the stationary state. For example
                                                                            if the user repeatedly says or writes text indicating “working
        vi=aik for k=1,   Ki,
                                                                            out,” “aerobics,” “exercise,” etc. then it is deduced that the
where Ki is the number of wireless transmitter IDs received at         15   stationary state is associated with a gym.
the mobile terminal at time interval 1.                                         The annotation module 221 takes the user input data 210
   While mobile terminal 150 is not moving substantively,                   forwarded by the location context client 103 and determines
e.g., not moving outside a limited or otherwise specified area,             a notation, label or tag, or some combination, to attach to a
the identifiers indicated by successive signal data fields 203              stationary or transition state determined by the learning mod-
are similar (changing slightly, for cxample, if onc or more                 ule 222. The annotation component is responsible for con-
WiFi access points powers up or powers down or the user                     necting the user tagged states to the learned states. Thus, the
moves to different locations within an apartment). When                     output states information can have more semantic informa-
mobile terminal 150 is moving substantively, however, the                   tion attached (e.g., “at home” or “at work”). In embodiments
identifiers indicated by successive signal data fields 203                  using a passive mode, a server can listen to the content pushed
change more dramatically and are therefore less similar.                    out from a mobile device (e.g., micro-blogging). Based on the
Whena mobile terminal is frequently not moving with similar                 content, the location tagging information can be derived. In
sets of transmitter IDs, those similar sets define a stationary             embodiments using an active mode, the user is prompted or
state, e.g., alimited area where the user of the mobile terminal            polled for information. For example, these embodiments
has a tendency to stay. Transition states are defined by fixed
                                                           a                prompt the user to confirm different location tags when the
transition time interval (tick), an initial stationary state (From     30   system believes the user is in a stationary state of some
State) anda final stationary state (lo State); and include states           importance. ‘he system only needs to ask very few questions
in which the initial and final states are the same stationary               to the user, which makes the polling approach very feasible
state. Thus a stationary state that persists for the tick, which            and less annoying to the user. In some embodiments, the
mast stationary states do, is amember of the set of all possible            annotation module 221 is omitted.
transition states. In some embodiments, the transition time            35       In some embodiments, the signal data stream 200 includes
interval (tick) is the same as the sampling time interval for               an occasional GPS geo-location that can be used to determine

determining whether a mobile terminal is moving. In general,                which particular location is associated with the stationary
however, the tick (e.g., about 10 minutes) is longer than the               state and further provide context. For example, a street
sampling time interval (e.g., 30 seconds to 2 minutes).                     address can be determined for the gym at or near the GPS
   FIG. 2B is a diagram of the components of a location                40   location associated with the stationary state tagged with the
context service module 220, according to one embodiment.                    gym label. In some embodiments, the location context service
Module 220 is one embodiment of location context service                    module sends a request to the location context client 103 to
process 132. It is contemplated that the functions of these                 capture a GPS position and include it in the signal data
components may be combined in one or more components or                     stream, for example while the mobile terminal is determined
performed by other components of equivalent functionality              45   to be in a stationary state. By using only occasional GPS
on the same or different devices, computers or chipsets,                    geo-locations, the power, memory and computational
including on host 130, host 140 or UE 101. In this embodi-                  resources of the mobile terminal are not as heavily burdened

ment, the location context service module 220 includes an                   as prior approaches that depend on GPS for predicting future
annotation module 221, a learning module 222 and a predic-                  user locations.
tion module 228, as well as an application programming                 50       Thelearning   module 222 includes a movement detection
interface API 240 for other applications to request and receive             module 224, an incremental state learning module 226 and a
the current and predicted location states of a mobile device.               database 230 with stationary statcs data structure 232 for cach
The output from the learning module 222 is a signal data                    user and transition states data structure 234 for each user.

stream with movement classification 225 and a database 230                  Thus database 230 is an embodiment of database 134, while
of stationary and transition states. The output from the learn-        55   user state records 136 are implemented as stationary states

ing module 222 is used by the state prediction module 228 to                data structure 232 and transition states data structure 234. The
provide the current or predicted states, or both, 229 to the                functions provided by each of these modules and data struc-
external application API 240. Thus the location context ser-                tures are described in more detail in the following diagrams
vice module 220 accepts user input 210 and the signal data                  and flowcharts.
stream 200, and provides current and future location states            60       FIG. 2C is a diagram of a stationary state record 250,
229 to one or more external applications 242. For example,                  according to one embodiment. The stationary state record 250
the location context service module 220 determines that the                 is one record in the  stationary   states data structure 232. The
user is currently at work but is about to leave tor lunch; and              stationary state record 220 includes user 1D/lAG/Context
passes this information to an external application 242, like                field 251, a state ID field 252, a probability field 258, and one
location based service 142, such as a marketing service that           65   or more fields holding sets of transmitter IDs, e.g., first set of

provides restaurant coupons to a user going to lunch in the                 transmitter IDs field 254a, second set of transmitter IDs field
vicinity of a subscribing restaurant.                                              and others indicated by ellipsis 259 (collectively refer-




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enced hereinafter   as  transmitter set fields 254), and one or            tion field 267a, field 2665 and others indicated by ellipsis 269
more count fields, e.g., first count field 256a, second count              (collectively referenced hereinafter as mean duration fields
field 2565 and others indicated by ellipsis 259 (collectively              267), and one or more duration standard deviation (STD)
referenced hereinafter as count fields 256).                               fields, e.g., STD duration field 268a, field 2685 and others
   The user ID/tag/context field 251 holds data that indicates             indicated by ellipsis 269 (collectively referenced hereinafter
the user (each user is expected to have different stationary and           as STD duration fields 268).
transition states and patterns of change). In some embodi-                     ‘The user ID field 261 holds data that indicates the user
ments, the user ID/tag/text field 251 includes data that indi-             (each user is expected to have different stationary and transi-
cates a tag provided by the user, e.g. “work”, or context
                                                                           tion states and patterns of change). The ‘rom State ID field
determined by other means, e.g., from analysis of messages            10
                                                                           262 holds data that indicates the unique identifier z1 for the
or GPS geo-location.
   The state ID field 252 holds data that provides a unique                stationary state at the beginning of the time tick. The To State
                                                                           ID field 264 holds data that indicates the unique identifier 22
identifier z for the stationary state, e.p. an index into the
                                                                           for the stationary state at the end of the time tick.
stationary states data structure or a sequence number that                     Each time context field 266, e.g., time context field 266a,
restarts for each user or mobile device.                              15
   Each transmitter set field 254, e.g., transmitter set field             holds data that indicates a temporal feature, such as weekend
                                                                           or workday, morming or afternoon or night, associated with
254a, holds data that indicates one or more distinct signal
sources, such as wireless transmitter [Ds received simulta-
                                                                           the beginning of the time tick. Several temporal features can
                                                                           be defined. A temporal feature has a fixed number of domain
neously at the user’s mobile terminal, e.g., the value of one
vector vi reccived when the service determincs that the                    values, which represent some semantic concepts of time. For
mobile terminal is not. Each count field 256, e.g., count field            example, a feature can have       {morning,
                                                                                                                    afternoon,      evening}
                                                                                                                                           as

256a, holds data that indicates the number of sample intervals             its domain values. In Table 1, a set of example temporal
for which that particular set of transmitter IDs was received              features are listed which are used in an example embodiment.
                                                                           Each temporal feature has a unique ID; each value ofa feature
simultaneously. A different but similar set of transmitter IDs             also has a unique ID that serves as a bin into which data is
determined to correspond to the same stationary state is
included in a different transmitter set field 254, e.g., transmit-         accumulated. In the illustrated embodiment, for purposes of
ter set field         with its corresponding count field, e.g.,            illustration, very general features are defined. It is anticipated
256d.                                                                      that more domain specific features can be easily added in
   The wireless transmitters indicated may be stationary or                other embodiments.
non-stationary transmitters. Using non-stationary transmitter         30

(e.g., Bluetooth) involves astep to localize these transmitters.                                        TABLE 1
In some embodiments, mined stationary states from station-
                                                                                                 Example Temporal Features
ary transmitters (e.g., GSM, WiFi) are used to partition the
non-stationary transmitters (e.g., Bluetooth or other ad-hoc                    Temporal
networks). From these partitions, non-stationary transmitters         35        Feature ID     Bin Value ID            Temporal Value
can be identified which have good location sense (e.g., always
                                                                                TF1            Bl                      Morning
appears when user is in the office state) or context (e.g., ina
              a                                                                                B2                      Afternoon
particular automobile). After this step, the localized non-                                    B3                      Nigat
stationary transmitters are used in some embodiments for the                    TF2            B4                      Weekend
                                                                                               BS                      Non-weekend
purpose of determining stationary states or transition states or      40
                                                                                                                       Weekend Morning
associated contexts or some combination.                                        TF3            B6
                                                                                               B7                      Weekend Afternoon
   As described in more detail below, a determination is made                                  B8                      Weekend Night
whether two different sets of distinct signal sources (e.g.,                    TF4            B9                      Vacation
                                                                                               B10                     Non-vacation
transmitter [Ds) are similar; and, in some embodiments, this
determination is made based on the posterior probability              45

(probability based on past history) of finding a particular                  Each mean duration field 267, e.g., mean duration field
transmitter ID given a particular stationary state. This prob-             267a, holds data that indicates mean duration in a transition
ability is represented by the symbols P(ID/z). This value can              state.   Any method may be used to indicate the mean duration.
be determined by sorting the transmitter IDs in the fields 254             In   some   embodiments, the       mean   duration field includes   a
and adding                          in which
              the counts for each set         the ID appears and      50   count of how many occurrences of the transition in the current
dividing by the sum of the counts in the count fields 256. Thus            time context are observed so that duration can be updated by
an ID that appears in cvery sct will have a probability of                 discounting the latest observed transition duration by it rela-
100%, while an ID that appears in a few sets will have a                   tive contribution to the overall count. Each STD duration field
smaller probability. In some embodiments, the probability for              268, e.g., STD duration field 268a, holds data that indicates a
each transmitter ID in the stationary state is updated when the       55   standard deviation of durations to accomplish a transition
stationary   state record 250 isupdated,  and the  updated    value        state. Any method may be used to indicate the STD duration.
is stored in the probability field 258.                                    In some embodiments keeping the number of duration obser-
   FIG. 2D is a diagram of a transition state record 260,                  vations in the mean duration field 267, the STD duration field
according to one embodiment. The transition state record 260               268 indicates a sum of durations squared, which can be
is one record in the transition states data structure 234. The        60   updated with each new duration squared. The standard devia-
transition state record 260 includes user ID field 261, a From             tion can be computed from the sum of the durations squared.
State ID field 262, a To State ID field 264, anda prior   state and        along   with the number of observations and mean value, the
count field 270. ‘The record 260 also includes one or more                 latter two indicated in the mean duration field 267.
time context fields, e.g., time context field 266a, field                     A particular transition state can be observed at different
and others indicated by ellipsis 269 (collectively referenced         65   times and thus can be associated with more than one time
hereinafter as time context fields 266). The record 260 also               context. Thus, in some embadiments a different temporal
includes one or more mean duration fields, e.g., mean dura-                                              a
                                                                           feature value is included in different time context field, e.g.,




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field2664, with its corresponding mean duration field, e.g.,             least between weekends and non-weekends, so that data over
                                                                         a significant portion of week, such as about three days to
267h, and STP duration field                                                                        a
  As described in more detail below, a determination is made             about five days, are deemed sufficient to make predictions. In
of the probability ofa different transition state given a current        other embodiments, other durations are sufficient. For
transition state and previous distributions of changes among             example, for emergency or military workers one day may be
transition states. Thus, in some embodiments, the transition             considered sufficient to make predictions. Step 311 includes
state record 260 includes the prior state and count field 270.           determining whether there is any desire for predicting future
The prior state and count field 270 holds data that indicates            states, e.g., because an external application 242 has requested
the transition state (e.g., za to zb) observed just before the           a prediction out to a certain query time.
                                                                                                                      If  there is no request
transition state (z1 to 22) indicated by fields 262 and 264. The    10   from any external application for prediction of a future state,
prior state and count field270 also includes data that indicates         then, in some embodiments, step 311 determines that there is
how many times that previous state (e.g., za to zb) was                  not sufficient data for a prediction.
observed just prior to the current transition state. This data              If data is not sufficient to make predictions, then in step 313
from every transition state record can be used to determine the          a service is delivered to a user based on the current or most

posterior probability of distributions among different transi-      15   recent transition state or stationary state. For example, an
tion states. That data can be fit with a mathematical model in           external application 242 queries the location context service
some embodiments, such as a multinomial fit, well known in               220 through application API 240 for the most recent station-
the art.                                                                 ary state, or the transition state that is based on the most recent
    Although records are shown above as contiguous blocks of             stationary state, and delivers a coupon to the user’s mobile
data with particular ficlds in a particular order for purposes of        terminal based on that state.
illustration, in other embodiments one or more fields or                    If there is sufficient data to make predictions, then in step
records or portions thereof may be arranged in the same or               315 zero or more predictions of future transition states are
different order on the same or different portions of a database          made, including any transition states that maintain the same
on one or more network nodes.                                            stationary state. In an illustrated embodiment, step 315 is
    FIG. 3 is a flowchart of a process for incrementally deter-          performed by determining the most probable transition state
mining location context, according to one embodiment. In                 at a future time based on the posterior probability of one or
one embodiment, the location context service module 220                  more transition states changing to a different transition state

performs the process 300 and is implemented in, for instance,            during tick, as described in more detail below with reference
                                                                               a
achip set including a processor and a memory as shown FIG.               to FIG. 7A. In some embodiments, step 311 and step 315 are
17, a mobile terminal shown in FIG. 18 or general purpose           30   performed by the state prediction module 228.
computer shown in FIG. 16. Although particular steps are                    If it is determined in step 317 that conditions are satisfied
shown in FIG. 3 and subsequent flowcharts (FIG. 4, FIG. 5,               for ending the determination of current and future states, the
FIG. 6A and FIG. 7A) in a particular order for purposes of               process 300 ends. Otherwise the process continues at step
illustration, in other embodiments one or more steps are omit-           301.
ted or performed in a different order or overlapping in time, in    35      FIG. 4 is a flowchart of a process to detect movement for
series or in parallel, or additional steps are added, or the             step 303 of the process 300 of FIG. 3, according to one
process is changed in some combination of ways.                          embodiment. The process 400 is directed to detecting
    In step 301, current data in the signal data stream is               whether the mobile terminal appears to be moving, while
received. l’or example, signal data 203 in signal data stream            accounting for the possibility that the population of transmit-
200 is received from mobile terminal 150 of a particular user.      40   ters may change somewhat even when a mobile terminal is
In step 303, the mobile terminal of the user is classified as            stationary. The basic idea is that if terminal is not moving
moving or not moving at the current time. In an illustrated              much, the corresponding signal fingerprints should remain
embodiment, step 303 is performed based on determining                   relatively similar to each other. The signal data stream is
similarity of transmitter IDs at the current and a previous              partitioned into a sliding set of fixed length time windows
time, as described in more detail below with reference to FIG.      45   (e.p., 10 minutes) ending at the current time. The two most
4. Insome embodiments, steps 301 and 303 are performed by                recent time windows for an input signal data stream are deter-
the movement detection module 224 of the learning module                 mined. A similarity function M defined over the interval [0 to
222.                                                                                                              A
                                                                         1] is evaluated on these two windows. classifier is then built
    In step 305 it is determined, whether the mobile terminal is         by imposing a movement threshold value t,, on the outcome
currently moving, based on the classification performed in          50   of the similarity   function.
step 303. If not, then in step 307, a stationary state record is            In step 401, a current window is defined of one or more
updated. In an illustrated embodiment, step 307 is performed             contiguous signal data ficlds 203 from the signal data stream
based on the posterior probability of finding the transmitter            200 ending at the current time. In step 403 a previous window
IDs in a particular state, as described in more detail below             is defined having the same number of contiguous signal data
with reference to FIG. 5. After the stationary state is updated,    55   fields, but ending at a time earlier than the current time. Each
or ifit is determined in step 305 that the mobile terminal of the        window therefore has w        signal data fields. In some embodi-
user is currently moving, then in step 309 data fora transition          ments, the two windows overlap and include some signal data
state of the user is updated. In an illustrated embodiment, step         fields in both windows. In an illustrated embodiment, the
309 is performed based on the posterior probability of a                 previous window defined in step 403 ends on the last signal
transition state duration for a given temporal feature, as          60   data field before the first signal data field of the current win-
described in more detail below with reference to FIG. 6A. In             dow defined in step 401. In some embodiments, each window
some embodiments, step 305 and step 307 and step 309 are                 includes  only   one signal   data field.
performed by the incremental state learning module 226.                     In step 405 a similarity measure is determined    for the   signal
    In step 311, it is determined whether there is sufficient            data fields 203 in the two windows. Any similarity measure
historical data collected to make predictions of future transi-     65   may be used. In an illustrated embodiment using GSM and
tion states. For example, in some embodiments, different                 WiFi streams, the similarity function is defined using cosine
movements are expected on different days of the week, or at              similarity, commonly used by many information retrieval



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systems.    For the two time windows, the observations are                field 258 of the stationary state record. Essentially, in step 507
grouped                           respectively.
           into 2 vectors v1 and v2,         Where i is an                the incremental state learning module 226 computes the pos-
index for the currentsample time, the current window signal               terior distribution of P(zlvi). Each input can be decomposed.
vl=vi, vi-1,   ..., vi-w; and the previous window signal                  into a set of feature-value pairs, also called attribute-value
v2=vi-w-1, vi-w-2         vi-2w. The cosine similarity can
                           .
                                                                          pairs. For example, a WiFi signal input at time ti can have a set
then be defined by Equation 1.                                            of Ki WiFi IDs represented as IDk, k=1 to Ki and can be
                                                                          treated as a binary feature. The posterior distribution can be
                                                                          estimated as given by Equation 2.
   In step 407, the similarity of the two windows is compared
to  a movement threshold t,,. If the similarity is greater than      10              tox?EDKIZ)! coz (ZA)
                                                                                P(2\vi)=P(z)
                                                                                          troxiPUDEIz/)                                      (2)
the threshold, then in step 411 the classifier determines that
the mobile terminal is not moving. Otherwise, in step 409 the             where Z is the number of stationary states in the set Z. The
classifier determines that the mobile terminal is moving. After           conditional independent assumption that P(vilz)—IT,_,
classification, the process ends; and control passes to step 305          (IDkIz) is similar to the Naive Bayes (NB) condition. It is a
of process 300.                                                      15   reasonable assumption since sensor features (e.g., WiFi
   FIG. 5 is a flowchart of a process 500 to incrementally                SSIDs), very often, are independently installed. This assump-
update stationary state in step 307 for the process of FIG. 3,
      a                                                                   tion works when each P(IDkIz) is not equal to zero; otherwise
according    to one embodiment. At the start of process 500 a             the likelihood      probabilityfor the         input
                                                                                                                           vector Pr(vilz)
current vector vi of wireless transmitter IDs is provided for             becomes 0. This is handled using two different consider-
updating a stationary state. When the first vector of wircless            ations. In first scenario, if a large portion (c.g., 70%) of the
                                                                                     a
transmitter IDs is received, there are no stationary states; that         transmitter IDs in a input vector vi are missing from a cluster
is, the set Z of stationary states is empty. The set grows as             z, then the likelihood probability for that cluster P(zlvi)
stationary states are learned incrementally over time.                    becomes 0.          second scenario, only a small portion of the
                                                                                         In the
   In step 501, it is determined whether there is another sta-            terms in the input vector are missing, given a stationary state
tionary state to compare to the current vector vi. If not, then in        z. Each of the missing terms IDk is assigned with a small

step 503, a new stationary state based on the vector vi is added          probability. This way, the overall likelihood will remain non-
to the stationary states data structure, e.g., as anew stationary         zero. In experiments, described in more detail below, each

state record 250. For example, the very first vector vi when the          missing IDk is assigned a value equal to a reciprocal of the
mobile terminal is not moving is added as the first filed in the          size of stream inputs observed so far.
first stationary state record 250. A stationary state ID z is        30      Thus, in the illustrated embodiment, to evaluate Equation
formed and stored in field 252, the wireless transmitter Is in            2, in step 521, the next IDk in vi is obtained. In step 523, it is
vi are stored in field 254a, and a count of 1 is stored in field          determined whether the P(IDkIz)-0, e.g., because that par-
256a. The probability field 258 is updated for a 100% prob-               ticular wireless transmitter ID has not before been observed in
ability of finding each transmitter ID in vi, given stationary            the current state z. If sa, then in step 525 a small non-zero
state z. The update process is then complete; and control            35   value is assigned to the P(IDkIz), e.g., the reciprocal of the
passes to step 309 in FIG. 3 to update transition state.
                                        a                                 size of the signal data stream up to the current time. In step
   If another stationary state exists, then in step 505 the sta-          527, it is determined if vi includes less that 70% of the
tionary state record for that stationary state z is retrieved. In         transmitter IDs already detected in stationary state z. If so,
step 507 the probability P(zlvi) is determined that the next              then control passes to step 531 to set the value of P(zlvi)—0, to
stationary state is the stationary state given the current vector    40   ensure that the record for the current stationary state z is not

vi of transmitter IDs.                                                    updated.
   In step 509, it is determined if that probability P(zlvi) is             If it is determined that P(IDk!z) is not       equal to zero in step
greater than a cluster threshold t,.. If so, then in step 511, the        523, or that vi includes 70% or more of the transmitter IDs in
stationary state record is updated, i.e., the current vector is           z, then control   passes to step 529 to determine if there is
added to the cluster of transmitter ID sets associated with the      45   another IDk in vi. If so, control passes back to step 521 to pet
stationary state. In an example embodiment, the cluster                   the next IDk in vi. Otherwise P(IDkIz) is non-zero for all k=1
threshold is a 10% probability. Thus is this embodiment, a                to Ki, and Equation 2 can be evaluated. In step 533 P(zlvi) is
probability of the current state z given the current vector vi            determined using Equation 2, which is a function of the
greater than 10% causes the current state to be updated to                           for k=1 to Ki.
include the set of transmitter IDs in vector vi.                     50      FIG. 6A is a flowchart of a process 600 to          incrementally
   In step 511 the stationary state record is updated. For                update a transition state for step 309 of the process of FIG. 3,
example, the vector vi is matched to onc of the sets of trans-            according to onc embodiment. The transition states provide
mitter IDs in transmitter set field 254. If an exact match is             the capabilities for performing temporal prediction, such that
found, then the associated count is incremented. If not, then a           given the past observations of transition states, the future
new transmitter set field 254 is added to the record with the        55   transition states can be predicted. There are two types of
exact set of transmitter IDs in vector vi, and its associated             transitions: self-transition; and transition from two different
count field is set to indicate 1. In some embodiments, prob-              stationary states. In a transitional model, the transition state
ability field 258 is also updated to indicate the new values for          space S includes all the possible pair of stationary states (i.e.,
P(DIz). The update process then ends, and control passes to               S={(za-zb) for a,         Z}). The process starts by evaluating
step 307.                                                            60   the significance of the last known stationary state z. The
   If it is determined in step 509 that the probability P(zlvi) is        probability P(z) is also known as support for the stationary
not greater than the threshold T,, then control passes back to            state. If the support of the      stationary
                                                                                                                    state is     bigger
                                                                                                                                    than a
step 501, described above, to determine if there is another               predefined minimum support, it is regarded as significant.
stationary state record already in the database.                          Different minimum support settings are evaluated in the
   In an illustrated embodiment, in step 507, the probability        65   described embodiments. It is assumed for purpose of illustra-
P(zlvi) is estimated based on the individual probabilities of             tion that the minimum support is 1%. If the stationary state is
each transmitter ID ofvi given the stationary state, as found in          significant (e.g., has a probability greater than the minimum



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support), and if the subject is on the move, at the point of                           With the assumption of time feature independence,         Equa-
recording the destination is not known yet. The information of                      tion 2 can be expanded using Equation 3.
the From State and time context information is cached. Once
the subject reaches a stationary state, ifthe cached From State                           P(si+1\si, y, BL...   BB)=Ty-troaP(slsi,y,
is not empty, a transition involving different stationary states                                  qetcosT tron   (5q|8i,y, BE)                  (3)
is updated. Otherwise, a self-transition is updated.                                To estimate the values of  P(slsi,y,6b), first the probability
   Given the time and transitional information, the probabili-                      P(silsi,y,   also known as survival probability, is estimated.
ties of the next transition state given the previous transition                     The survival probability means the probability that the sub-
state, P(si+11si), are updated using the temporal features and                      ject stays in the same transitional state si at the next time tick.
past observations according to Equation 3.                                     10   A normal distribution with mean pand standard deviation ois
                                                                                    used to model a given observed distribution of duration values
       P(si+1 |si)=P(si+1 |si, y,      BB)                               (3)
                                                                                    from y, as given by Equation 4.
where y represents the time duration for staying in si. A set of
B temporal features is obtained (61        8B). The temporal
                                                ..    .




feature-value pairs are not allowed to include each other, as
                                                                                          P(siIsi,y,Bb)=1-f oNQo)dx                                  (4)
                                                                               15   An example illustrates the process. It is assumed for purposes
described in more detail below with reference to a precedence                       of illustration that the subject is in a transition state s1 at time
praph; and thus, they can be assumed to be conditionally                            ti. From the past data, for a time feature value of fj (e.g.,
independent.                                                                        TF1B1:Morning), it is known that the subject transitions to
   To allow the assumption of conditional independence, the                         another state s2, s3 etc. in 20 minutes on average (i.e., u=20)
dependencies are removed using a precedence graph. Given                            with standard deviation of 5 minutes           o=5). Ifthe subject
time instance ti, it is possible to have multiple matching                          has already stayed in sl for 25 minutes, the probability of
temporal feature-value pairs. It is desirable to select only                        remaining in s1 reduces to 16%, which also means that the
those that are discriminative or important. The precedence
                                                                                    probability of changing to another transition state is 84%.
graph encodes the importance relationships. The graph                               Knowing the survival probability, the total probability of
defines a partial-order for all the temporal feature-value pairs.
FIG. 6B is a diagram of precedence for multiple temporal
                                                                                    going to other transitional states P(sesilsi,y,Bb) is known as
                                                                                    the remaining probability—1-survival probability. Depend-
features, according to one embodiment. The precedence                               ing on the meaning of si, probability of transiting to other
graph 600 has anode for each value of each feature. The nodes                       transitional states is computed differently. In first situation,
                                                                                                                                        a
for the values for the first feature are morning node 651a                          si represents moving from one stationary state z1 to a differ-
representing B1 from Table 1, afternoon node 6515 represent-                   30   ent stationary state z2. Since the destination is specified,
ing B2 and night node 651c representing B3. The nodes for                           P(szsilsi,y,8b) represents the probability of reaching z2 (i.e.,
the values for the second feature are weekend node 652a
                                                                                    s=(z2-z2)). In a second situation, if si represents staying ina
representing B4, and non-weekend node 6525 representing                             stationary state, then P(szsilsi,y,Bb) represents the total prob-
BS. The nodes for the values for the third feature are weekend.
                                                                                    ability of changing to other transitional states, given by Equa-
morning node 653a representing B6, weekend afternoon                           35   tion 5
node 653d representing B7 and weekend night node 653c
representing B8. The nodes for the valucs for the fourth                                  P(sestlst,y,Bb)=Z   tos                                    (5)
feature are vacation node 654a representing B9, and non-
                                                                                    If it is known that si is about to transit to sq, the duration of
vacation node 654d representing B10. The nodes above domi-
nate connected nodes below, e.g., are more useful descrip-
                                                                                    staying at si becomes irrelevant, and hence P(s=sq|si,y,Bb))
tions that include and replace the less useful description.
                                                                               40   equals to P(s=sq|si,6b), which can be modeled by a multino-
                                                                                    mial distribution fit to historical data. The parameters of the
   With the precedence graph, the time instance ti can be
                                                                                    distribution can be maintained in the database 230, e.g., inone
better characterized. Table 2 illustrates the process of extract-
                                                                                    or more transition state records 260, when new observations
ing the time features.                                                              arrive.
                                                                               45       Thus in process 600, depicted in FIG. 6A, the most recent
                                    TABLE 2
                                                                                    stationary state z is determined in step 601. In step 603, it is
                         Temporal Feature extraction.                               determined if P(z) is greater than the minimum support
                                                                                    (S-min). Ifnot, a transitional state from this stationary state is
                                                     Extracted Bin                  not sufficiently important,        and the process ends without
Time                 Matched Bin Value IDs           Value                     50   updating                                                y
                                                                                                 a transitional state. Otherwise the duration is incre-
                                                                                    mented by the tick time (e.g., 10 minutes). In step 607 it is
8AM Jan-09-09        {Morning, Non-Vacation}         {Morning}
8AM Jan-10-09        {Morning, Weekend               {Weekend Morning}              determined whether the mobile terminal is moving based on
                     Morning, Non-vacation}                                         the moving classification received from the movement detec-
8AM Jan-12-09        {Morning, Vacation}             {Vacation}                     tor. If so, then the From State            is set equal to the last
                                                                               55   stationary     state z. The   precise transition state is unknown
First the time instance is matched to all possible temporal                         because the mobile terminal has not yet arrived at the To State,
feature-value pairs. The precedence graph is checked to                             and the process ends.
eliminate those values that have been dominated. For                                    Ifit is determined in step 607 that the mobile terminal is not
example, 8 A.M. on the Jan. 9th is a normal work day morn-                          moving, then in step 611, the To State (z2) is known as the
ing, it matches two feature-value pairs (TF1B1:Morning and                     60   current stationary state z and is set equal to that value. In step
TF4B10:Nonvacation). Since Morning is more discrimina-                              613, it is determined whether the From State has been set. If
tive than Non-vacation, Morning has higher precedence and                           not, z1 is null and control passes to step 615 to set the current
is used as the final time feature bin value extracted. In the end                   transition state si to the self-transition with the From State the
of the extraction process, only a set of one or more important                      same as the To State 72, both equal to z. If the From State had
feature-value are left to represent the time interval from leav-               65   been set, then z1 is not null and in step 617 the transition state
ing stationary From State (z1) and arriving at stationary To                        si is set to the transition from state z1 to z2=z. The From State
State (22).                                                                              is set to null. In either case, control passes to step 619 to




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update    the transition state si with duration y, current time                z2 is unknown, so si is also unknown. The last self-transi-
feature fi. In some embodiments the duration is restarted, e.g.,               tional state is known at a    previous
                                                                                                                time t0, and is        represented
set to zero; thus, a self transition will always have duration                 as sO. In this case, the     prediction
                                                                                                                  starts from the last self-
equal to the tick time. In some embodiments, the self transi-                  transitional state. The time interval from the last stationary
tion duration is not reset to zero until the mobile terminal is                state is made discrete into a set of time ticks (e.g., 10 minutes
classified as moving again.                                                    each). Based on the first-order Markov assumption, the most
   In step 621 the probability of the next transition state given              probable transition is assumed at each step, which is an imple-
the current transition state P(slsi) is determined to support                  mentation of the well-known Viterbi algorithm to compute
predictions. Then the process ends and control passes to step                  the most probable transitional state at query time ti. The
311of    process 300 in FIG. 3.                                           10   Viterbi algorithm is a dynamic programming algorithm for
 In  the illustrated embodiment, step 621 includes steps 623                   computing the Viterbi path, which corresponds to a sequence
to step 631. In step 623 the mean 1 and standard deviation o                   of transitional state sequence with maximum probability. At
of duration in the transition state si for time feature B is                   query time ti, there are m time ticks from last stationary state.
determined, e.g., extracted from field 267 and field 268 in                    The best transition state at time ti has a probability of: P=max
transition state record 260. In step 625 the survival probability         15   (P(sm)). The states at each earlier time tick j can be defined as:
P(silsi) is determined based on and o, e.g. using Equation 4.                  P(sj)=max(P(sj|sj—-1)). For the starting state s0, the following
In step 627 it is determined whether the current state si is a                 is set: P(sO=(z0-z0))=1 and                         since it starts
self-transition state in which z1=z2. Ifnot, then in step 629 the              from a self-transition in a known stationary state z0. In FIG.
probability of returning to the most recent stationary state                   7A, current time ti is simplified as current time t; and si is
(not transitioning) is determined as the remaining probability                 represented as St.
1-P(silsi), and the process ends.                                                  Thus in step 705, the most recent stationary state z0 and the
   If it is determined in step 627 that the current state si is a              associated time t0 are determined. In step 707 it is determined
self-transition state in which z1=z2, then duration does not                   if the movement detector has classified the mobile terminal as
matter and control passes to step 631 to determine the likely                  moving. If not, then si=(z0-z0), and step 701 is complete.
transitions to different stationary states based on historical                     If it is determined in step 707 that the movement detector
distribution of transition state changes. For example a multi-                 has classified the mobile terminal as moving, then in step 711,
nomial distribution is fit to the historical data based on the                 the number of time ticks since the last stationary state is
prior state and counts in field 270 in each transition state                   determined using Equation 7.
record 260. This distribution is used to apportion the remain-
ing probability 1—P(silsi) among the other possible transition           30          m=(ti-10)itick                                             ©)
states sq, where q#i, and the process ends.                                    In step 713 the most    probabletransition state is determined at
   FIG. 7A is a flowchart of a process 700 to predict the next                 each time tick, e.g., j=1 to m,        according Equation
                                                                                                                           to            8.
transition state for step 315 of the process 300 of FIG. 3,
                                                                                     P(sj/)=max(P(sklsj-1,7.B)   for k=1 to   S)                (8)
accarding to ane embodiment. Given a prediction time win-
dow that includes x number of time ticks after current tick ti,          35    Where max is an operator that returns the maximum value of
the prediction task can be formalized as P(si+1                sit             a set of values indicated in the argument. For a given transi-
        .
           si), which represents the past transition state obser-
            .                                                                  tion state sj—1 of duration y and time feature there is a finite
vations          si and future observations si+1 ...si+x. Directly
                ...
                                                                               probability of remaining in the same transition state and a
estimating this probability distribution is not feasible since                 finite or zero probability of changing to each of one or more
the space for storing the joint distribution is overly burden-           40    different transition states. These state are represented in
some. In the illustrated embodiments, the first-order Markov                   Equation 8 as sk, k=1 to S (the total number of transition
chain assumption is made, such that the probability of observ-                 states). The max operator compares all these probabilities,
ing transition state si+1 at time tick ti+1 is only conditionally              many of which are zero, and selects the most probable one as
dependent on the transition state si at ti. The prediction task                sj. At the last time step, the most probable current transition
can then be simplified and effectively performed as piven by             45    state si—St is computed and step 701 is complete.
Equation 6.                                                                        In step 703 the entire Viterbi path into the future is returned,
                                                                               not just the transition state at the end time tX. Given the query
      P(si+1...       si+xls0   .   ..
                                         si)=I1j=itot+xP(sj+1s/)               end time tX, the time is divided from the last known stationary
   The first-order Markov assumption is reasonable since in                    state z0 (or the current transition state si) again into a discrete
the practical situations, the locations where the mobile termi-          50    number (represented by the number X) of time ticks (e.g., 10
nal is about to go are highly associated with the current                      minutes), and output the transition state sequence with the
location, but less so for the previous locations. Since an cffi-               maximum probability. Thus in step 721 the number         X of ticks
cient process for computing Pr(si+1Isi) has been described                     is determined using Equation 9.
above in step 621, the prediction task becomes feasible. The
prediction task in process 700 is separated into two sub-tasks.          55          X=(tX-0Ytick                                               (9)
The first task in step 701 is to predict the most probable                     And in step 723, the most probable sequence of transition
transitional state si at current time ti. The second task in step              state is determined at each time tick, e.g.,     to X, according
703 is to predict the most probable state sequence for the                     to Equation 8, above.
future time window x.                                                             FIG. 7B is a diagram 750 of a Viterbi path among most
   In step 701, there are two possible scenarios considered. In           60   probable transition states, according to one embodiment.
the first scenario, at the point of prediction ti, the movement                Time increases to the right as indicated by time axis 752. A
detection module 224 does not detect any movements; and the                    particular time is represented by a vertical line segment at the
incremental state learning module 226 indicates one of the                     discrete time t0 760, time t1 761, time t2 762 and time tX 763.
stationary states zi. Therefore, the transitional state represents             The distribution of transition states at each time are repre-
a self-transition si—(zi—zi). In the second scenario, the move-           65   sented by nodes, e.g. node 770 at time t0, nodes 771a,
ment detection madule 224 reports the mobile terminal is an                    771c at time t1, nodes 772a, 772b, 772c at time t2 and nodes
the move, at the query time ti, and the final stationary To State              773a,        and       at time tX, collectively referenced here-




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inafter as transition state nodes 777. The probability of chang-           Experiments.
ing from one transition state to another is presented as a                     Extensive experiments with certain embodiments show
number next to a dashed arrow 781 or solid arrow 783 con-                  that the quality of the location-states learned by iLoc is better
necting the initial transition state to the next transition state.         than the quality of the other known approaches. It is also
The most probable path at each time step is indicated by the               demonstrated that when learning processes of other
solid arrow 783. Each transition state node 777 indicates a                approaches failed to produce reasonable predictions, iLoc
stationary From State and stationary ‘lo State in a top row.               still provides good forecasts. As for efficiency, iLoc passes the
Each transition state node 777 also indicates a probability of             data only once, whereas learning processes of other
being in that transition state and the previous transition state      10
                                                                           approaches require multiple iterations. In fact, iLoc does not
that is most likely to change to that node. The most likely                require caching any data records on the mobile device, which
previous transition state can be determined, for example,                  fits well with many data stream processing models.
from the data in the prior state and count field 270 in the                    In the experiment, certain embodiments were implemented
transition state record 260.                                               using Python. The run time reported in these embodiments
   FIG. 7B illustrates a temporal range query. In this example,       15
                                                                           are measured from a P4-2 GigaHertz (GHz, 1 GHz=109 Hz,
there are X=3 time ticks. Each node in this graph represents a             1 Hz=1 cycle per second) PC with Linux operating system
transitional state sx indicated as a pair of stationary states.            (OS). For comparisons, a Latent Dirichlet Allocation (LDA)
Therefore, at the end of the query time ticks, the most prob-              model and a hidden Markov model (HMM) are also imple-
able (48%) transitional state (z2-z1) results. If one back-                mented. The LDA and HMM models are generated by utiliz-
tracks using the previous best node, one obtains the best                  ing various statistical tools from MATLAB™ of MATH-
sequence from time t0 to time tX to be: {(70), (70-72), (72),              WORKS™ of Natick, Mass.
(z2-z1)}, which means that the mobile terminal is predicted                    Although LDA has shown very good performance in text
to transit to the stationary state     and then start transiting to        mining domains, there are a few problems when applied to
the stationary state z1.                                                   location context. The first problem is that LDA does not
   The complexity of the system represented by the processes               consider time dependencies. Each record/document is
depicted in FIG. 3 through FIG. 7A is estimated here. As                   assumed to be independent or interchangeable. Hence, LDA
determined in the experiments described in more detail                     cannot be directly used for predicting future location states.
below, the complexity is very manageable and scales well to                The second problem is that LDA docs not have the semantic
a large number of users. Thus a reasonable number of servers
and hosts can service a large number of location context users.       30
                                                                           concept of stationary states, which represent the places that a
                                                                           user stays. In a LDA model, a WiFi source encountered while
 In   terms of storage complexity, since the set of transitional
states S consist of all possible pair of stationary states, space
                                                                           moving will appear in both the starting and final stationary
on the order of         indicated as O(1Z1?), is useful. To main-          states, which leads to poor clustering performance. Further-
tain the transitional states, up to all the pair-wise transitional         more, it is difficult to incrementally update the LDA model,
behavior from all the transitional states (P(skl|si,y,Bj)) would      35   especially in deciding the number of clusters and estimating
be useful. That involves O(|SI) space. Ifthere are B temporal              the parameters. Although other non-model based clustering
feature-value pairs, the overall storage requirement is                    algorithms like K-means or hierarchical agglomerative clus-
bounded by O(BxISI?). For example, if 10 stationary states                 tering (HAC) can also be applied, they have been shown less
exist, there may be 100 possible transitional states and 10,000            accurate than model-based methods; and, these non-model

possible pair-wise transitions. Fortunately, in practice, many        40   based methods also suffer from similar problems to those of
of the transitional states are not possible (e.g., from ‘work’             LDA.
directly to ‘vacation hotel’), which drastically reduces the                   HMM is also a generative model, such that each observa-
number of pair-wise transitions. Therefore, the models can be              tion is generated by latent state variable. The latent state at
                                                                                               a
efficiently stored.                                                        a time point also depends on its previous latent state. The
   In terms of computational complexity, for every sensor             45   parameters in the HMM can be estimated by using Baum-
input v that goes through the incremental state leamer module              Welch algorithm, which is a generalized expectation maxi-
222, the movement detection module 224 uses ON) time for                   mization (GEM) algorithm. Although modeling state transi-
similarity computations. During the state mining process, a                tion is part of HMM, the states do not physically correspond
hash table is built on the transitional states S, and possible             to the location states. This leads to poor performance in pre-
pair-wise changes     among them. It takes    O(log(BxISI7))    on    50   dicting future movements. For HMM, the observation
average to update the models. Therefore, for each input, the               sequence is not available at the point of prediction. For
cost is O(Ivl)+O(log(BxIS!?)).      If the size of cach input is           cxample, only given the first 2 records, it is desirable to
small, the movement detection has approximately constant                   predict the transition between the two location states. Without
cost. Therefore, the cost of processing n stream inputs is O(n             providing future observations, HMM is very unlikely to pre-
log(Bx!S!?)).   For the large number of inputs and small num-         55   dict the transition.
ber of transitional states, the overall   complexity     is almost             The experiments employ GSM and WiFi sensor data,
linear with number of inputs.                                              because these two types of data have clear location sense, and
   The overall complexity of the prediction module depends                 are widely available. Experimental data was obtained by con-
on how many pair of the transition states are involved between             tinuously monitoring 3 users for a period of 66 days.
two time ticks. In the worst case it can be up to        Hence the    60       A data collection client serving as location context client
worst case complexity is O(mlSI?). In practice, not all the                103 is implemented using Python for S60, and runs on S60
transition states between two time ticks are    possible   because         series mobile phones from NOKIA of Espoo, Finland. The
of the time constraints, which is especially true when the                 client periodically uploads the data to a server. ‘lhe overall
number of time ticks X is small. Therefore, the prediction                 service is also known as NOKIA Simple Context service.
process is expected to be very efficient when the prediction          65   FIG. 8A is a diagram of location context data 800 at a client
time window is small (e.g., 1 hour), but less efficient when it            process, according to one embodiment. In the illustrated
is big (e.g., 1 day or 1 week).                                            embodiment, FIG. 8A showsa screen capture of the client




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running on a N95 mobile phone from NOKIA. The client is                                  Table 4 shows the default parameter settings used by iLoc.
highly customizable, with the capabilities of monitoring mul-                         For different components, the parameters have different sen-
tiple sensors (GSM, WiFi, GPS, Bluetooth, etc.) at the same                           sitivity. For instance, the threshold settings in movement
time. One interesting feature of the client is an adaptive GPS,                       detection module and stationary state portion of the incre-
which uses the same movement detection module described                          5    mental state learning module 226 are less sensitive than the
above to control the GPS sensing. It can smartly turn on the                          parameters used in the transitional state portion of the incre-
GPS when the device is on the move, and switch it off other-                          mental state learning module 226. Therefore, in the later part
wise. Although the GPS data is used to geo-tag the WiFi and                           in this section, the performance implications in changing the
GSM signal sources in the certain embodiments involved in                             parameter values are evaluated.
the experiments, it is anticipated that other embodiments                        10
further utilize the GPS data in the incremental state learning                                                            TABLE 4
module 226.
   FIG. 8B is a diagram of location context interface 850 at a                                                      Default   parameter settings
server process, according to one embodiment. The interface

850 displays the last few records ofa user in panels 852, 854,                   15
                                                                                      Component                                   Parameter               Values

856 and 858. Panel 852 displays data that indicates the use                           Movement detection module
                                                                                                                                movement                    10%


identifier dD)   and other context
                                           information,
                                                  such as
cations running or messages sent. Panel 854 displays data that
                                                                      appli-          Incremental State   learming module
                                                                                       (stationary state update)
                                                                                                                                chisterthrechale    To      10%

indicates a list of WiFi and GSM transmitter identifiers (IDs).                        Incremental State leaming module           Minimum     Support        1%
Pancl 856 displays a map of the user environs based on a last                         {transition state update)
                                                                                      State Prediction Module
                                                                                                                                  Temporal
                                                                                                                                  Time tick
                                                                                                                                            Features
                                                                                                                                                          Table 1.
                                                                                                                                                         10 minutes
GPS position. Panel 858 displays data that indicates alloca-
tion of computer-readable storage on the mobile terminal.
   Once the data sent from the client is stored on the server,                           FIG. 10A is a graph 1000 of a ratio of moving periods to
various APIs (e.g.,     API
                         240) can be used to retrieve/download                        non-moving periods for a mobile terminal of User 1, accord-
the data. Although the embodiments employed in the experi-                       25   ing to one embodiment. The horizontal axis 1002 is time in
ments are built on a PC, the code can also be directly run on                         days. The vertical axis 1004 is ratio of time that the mobile
the mobile client in a real-time mode. A standard PC is used                          terminal is moving divided by the time that the mobile termi-
to benchmark the performance against other alternative or                             nal is stationary on that day. Trace 1010 depicts the detection
prior art approaches like LDA and HMM.                                                of movement based on the WiFi data stream; and trace 1020
   During the experimental time period, thousands of distinct                    30   depicts the detection of movement based on the GSM data
Wiki access points and GSM cell [Ds have been observed.                               stream. ‘lhe daily movement ratio for User 1 shows the effec-
FIG. 9A and FIG. 9B are maps of transmitter coverage for                              tiveness of the movement detection module 224. It is seen that
GSM cells and WiFi access points, respectively, according to                          movements are not limited only to the weekends, but include
various embodiments. These cells are geo-tagged based an                              the weekdays as well. User 1 confirmed that the movement
one user’s data and plotted on a map image 901 of the experi-                    35   detection module 224 can correctly capture large move-
mental area. The GSM signal source locations 903 and WiFi                             ments—especially for commuting to different locations. In
signal source locations 905 cover a very large geographic                             Table 5, the average movement ratio per day is computed for
region. It is noted that it is not sufficient to only use an                          all users. Note that the WiFi data stream can capture more
individual signal sources (e.g., a single GSM cell ID) to                             movements than the GSM data stream. This is because   a Wil'i
represent a stationary state. Many of these signal sources do                    40   access point normally has smaller spatial coverage than a

not correspond toa stationary state (e.g., they are discovered                        GSM cell, and hence this data is more sensitive to the move-
during commuting); and many of them represent the same                                ments. However, the difference is not very large, which indi-
stationary state (e.g., multiple WiFi access points in one                            cates that GSM cells can also be used for movement detec-
scan).                                                                                tion.
   In Table 3, data sets for the users during the period of 2                    45
months are summarized. Table 3 shows the total number of                                                                  TABLE 5
records and the number of distinct signal sources (e.g., trans-
mitter IDs) for each user. Notice that the number of records                                                        Movement ratio per     day.
for WiFi is
             less than
                     GSM. This is because a WiFi
                                                 scan is more                                 Data Stream   ‘Type             User 1          User 2     User 3
power consuming than aGSM scan, and hence WiFiscans are                          50
done at slower rate than GSM scans. For these users, WiFi                                     GSM                              9.2%
                                                                                                                                               16.2%     10.1%

scanning ratc is sct between 2 and 5 minutes, and the GSM                                     WiFi                             12.4%           24.9%     14.2%
scanning rate is set between 30 seconds and 2 minutes. In the
reminder of this section, focus is on User 1’s data to under-                           FIG. 10B is a graph 1050 of number of stationary states for
stand how well each component works. All users’ data are                         55   a mobile terminal accumulated incrementally over time,
included to summarize the overall            performance.                             according to one embodiment. The horizontal axis 1002 is
                                           TABLE 3

                                      Experimental Data Seta
                    User 1                         User 2                        User 3


Type     #records     #transmitiers     #records     #trausmillers    #records   = # transmitters
GSM       88,204             643         50,995             1,137      67,777              625
WiFi      41,995             2,936       23,818             3,669      34,921             3,718




                                                                                                                                                   WSOU_585_8737961-0000343
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time in days, as in FIG. 10A. The vertical axis 1054 is number             clusters to account for 95% of stationary time for different
7. of stationary states. Trace 1060 depicts the growth in sta-             users from iLoc. Furthermore, to apply HMM and LDA effec-

tionary states based on the WiFi data stream for User 1; and               tively, the number of iterations also is determined. For HMM,
trace 1070 depicts the growth in stationary states based on the            the maximum number of iterations is set to be 100. For LDA,
GSM data stream for User 1. Graph 1050 clearly demon-                      a Gibbs sampler approach to training the LDA model is used.
strates that the stationary state update process of incremental            The number of the iterations for the Gibbs sampler is set to be
state learning module 226 can incrementally discover new                   500.
stationary states as data arrives. Note that the number ofWiFi
stationary states is larger than the number of GSM stationary                                            TABLE 7
states. This is also expected since many places nowadays have         10
free WiFi access, but many of these access points might be                     Number of stationary states to account for 95% of stationary time.
under the same GSM cell. In Table 6, the total numbers of the
stationary states discovered by all 3 users are summarized.                      Data Stream   Type        User 1         User 2         User 3

                               TABLE 6                                15
                                                                                 GSM                          6             23              10

                     Total number of stationary states.                         WiFi                          5             24              12


      Data Stream   Type         User 1          User 2   User 3

      GSM                          46              95       58
                                                                              FIG. 12A and FIG. 12B are graphs 1200 and 1250         time   of
     WiFi                          86             109       83             to build  probability models of transition states compared to
                                                                           other approaches, for GSM cells and WiFi access points,
    FIG. 11A and FIG. 11B are graphs 1100 and 1150 of                      respectively, according to some embodiments. The horizontal
cumulative distribution functions of most frequent stationary              axis 1202 indicates bins for the user and modeling approach.
states for a mobile terminal accumulated incrementally over                The vertical axes 1204 and 1254 indicate the time in seconds.
time for GSM cells and WiFi access points, respectively,                   The model build time for GSM data stream is shown in graph
                                                                           1200 for the HMM approach for each of the three users as bars
according to some embodiments. The horizontal axis 1102 is
time in days. The vertical axis 1104 is fraction of total obser-           1210a, 12106 and 1210c, collectively referenced hereinafter
vations that are attributable to the sum of a given stationary             as bars 1210; for the LDA approach as bars 1220a, 12206 and

state and all more frequent states. In graph 1100 for the User        30   1220c, collectively referenced hereinafter as bars 1220; for
 1 GSM data stream, trace 1111 depicts the fraction of obser-              the iLoc embodiments as bars 1230a, 12305 and              col-
vations attributed to the first state, trace 1112 to the first and         lectively referenced hereinafter as bars 1230. The model build
second most frequent stationary states, trace 1113 to the first            time for Will data stream is shown in graph 1250 for the
through third most frequent stationary states, trace 1114 to the           HMM approach for each of the three users as bars 1260a,
first through fourth most frequent stationary states, trace 1115      35   12606 and 1260c, collectively referenced hereinafter as bars
to the first through fifth most frequent stationary states, and            1260; for the LDA approach as bars 1270a,           and 1270c,
trace 1116 to the first through sixth most frequent stationary
states. The difference between traces gives the fraction attrib-
                                                                           collectively referenced hereinafter as bars 1270; for the iLoc
                                                                           embodiments as bars 1280a, 12806 and 1280c, collectively
utable to the additional stationary state. In graph 1150 for the
                                                                           referenced hereinafter as bars 1280. Even with only 100 itera-
User 1 WiFi data stream, trace 1151 depicts the fraction of           40
observations attributed to the first state, trace 1152 to the first
                                                                           tions, HMM takes the longest time (bars 1210 and 1260) to
                                                                           train. This also shows that iLoc (bars 1230 and 1280) is about
and second most frequent stationary states, trace 1153 to the
                                                                           2 to 10 times faster than LDA with Gibbs sampling (bars 1220
first through third most frequent stationary states, trace 1154
                                                                           and 1270). The performance gain is mainly because iLoc is an
to the first through fourth most frequent stationary states, and
trace 1155 to the first through fifth most frequent stationary        45   one-pass algorithm, and athers require multiple iterations
                                                                           over the data.
states. These graphs show how the stationary states are dis-
tributed in frequency of occurrence. Each of the GSM and                      The quality of clusters from different approaches was alsa
WiFi graphs showa big stationary state that consistently has               examined. For User 1 the top-5 clusters (WiFi data stream) are
more than 50% of the probability. After going through the
                                                                           compared to those from HMM and LDA in Table 8, which
states manually, this state clearly corresponds to the Home           50   shows the top-3 WiFi access point IDs from each learning
state. The top-5 for WiFi and top-6 for GSM consistently
account for more than 95% of the time in cach day. These
                                                                           approach. To the user, these access point IDs can be easily
                                                                           associated with some semantic meaning. In Table 9, the user
states correspond clearly to Work, and other frequently vis-
ited places.
                                                                           tags these clusters based on the top ten WiFi IDs. For iLoc, the
                                                                           user is able to identify and distinguish several interesting
    HMM and LDA learners are not incremental learners. To             55
provide a favorable comparison for these alternative                       places, including home, work and a friend’s home. Also, iLoc
approaches, the HMM and LDA are trained with the full two                  correctly clusters the WiFi access point IDs near the user’s
                                                                           usual lunch and Gym locations. Table 9 also shows the prior
months of data, even though such results would not be avail-
able for 66 days. Another difficult question is how to decide              probabilities (support) of each cluster, which represents the
the number of clusters for the HMM and LDA approaches.                60   degree of importance of each cluster. The user agrees with the
There are different heuristics proposed in the literature. Here,           iLoc clusters associated with stationary sates. However,
                                                                           HMM and LDA cannot clearly separate these stationary
avery good estimate is provided by utilizing the results from
iLoc. ‘The number of clusters for HMM and LDA is based on                  slates. For example, the WiFi ID “Home” appears in a few
the top stationary states that cover 95% of the stationary time            clusters. If these HMM and LDA clusters were selected as
ofa user. The assumption is that, if either HMM or LDA will           65   stationary states, the transitional model is severely affected,
outperform iLoc, that outperforming model should discover                  leading to poor prediction performance. Similar clustering
similar set of stationary states. Table 7 shows the number of              behaviors are observed for the other two users.




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                                             25                                                                                       26
                                                   TABLE 8

               Top three WiFi IDs (SSIDs) for stationary states by various approaches.

Approach       State 1              State 2            State 3                    State 4              State $

iLoc           YY   Home,           WANO              HotelWireless               Aquarium             Glenbrook
              Disha,               Kelevala           Multi-Point Access          linksys,             Homelinksys
              Dua                   noklabwl           SEASONS_INN               Arthur                Kwan AP
HMM,           YY   Home,          Kelevala,          YY     Home,                Aquarium,            Aquarium
              Disha,               WANO,              HotelWireless,              dungeon,             Dungeon
               HotelWireless        ucklabwl        Dua                           Due Net              WANO
LDA           WANO,                 YY     Home,      Disha,                     Lee9,                 YY Home
              Kelevala,             Disha,            YY Home,                    YY    Home,          Ma
               noklabwl             Gammavista        Dua                         Gamavista            Disha




                                                TABLE 9

                  Location context for stationary states           by various approaches.
Approach       State 1           State 2           State 3            State 4                State 5

iLoc           Home      (71%)   Work              Lunch(2%)          Friend Home            Gym (0.3%)
                                                                      (1.5%)
HMM,           Home      (49%)   Work              Home      (18%)    [Triend Home,          [riend    Home,
                                                                      Work (6%)             Work (1%)
LDA            Work   (24%)      Home      (19%)   Home      (19%)    Home      (19%)        Home      (19%)


  To    fully test out the transitional model and the prediction                                        can  be utilized for many real-life applications (e.g., Ad-serv-
framework, a continuous set of prediction queries was formed                                     30     ing). Although the    illustrated embodiments are fully incre-
automatically. In this setting, the inputs from a data stream                                           mental models, statistics are assembled over several days to
were replayed sequentially. At each sampling point, the                                                 populate the posterior probabilities. The predictions were
movement detection                 process is invoked and                 two    types of               performed continuously on exactly two months of data. For
queries are formed. The first query type is called non-moving                                           the predictions, ifa predictor refuses to make prediction, the
                                                                                                                                                      a
query (and labeled Qt1), such that if a user is not moving, a                                    35     predictor is considered to not have sufficient information to
query of 60 minutes time range was made. The prediction                                                 make the prediction, and it is not part of the query load. This
module output a most probable transition state every 10 min-                                            is reasonable since the goal is to have very accurate predic-
utes until the user started to move again or the 60 minutes                                             tions rather than very broad predictions. To gain some
prediction window elapsed. The accuracy            computed at      was                                 insights to the prediction process, daily prediction for User 1
each time tick by comparing the predicted transitional state s                                   40     were examined. If there’s no predictions made for a day, it is

against the stationary state 70. A prediction was considered                                            treated as correct choice (i.e., 100% correct for the day).
correct ifs  represents the self-transition s=(z0-z0). The sec-                                            FIG. 13A through FIG. 13D are graphs 1300, 1320, 1340
ond query type is called moving query (and labeled          such                                        and 1360 of prediction accuracy for moving and non-moving
that if the user was on the move, starting from the most recent                                         transition states for GSM cells and WiFi access points,
stationary state z0, a time range was formed that lasts until the                                45     respectively, according to some embodiments. The horizontal
user reaches another stationary state zl. During this time
                                                                                                        axis 1302 is time in days. The vertical axis 1304 indicates the
                                                                                                        correct prediction rate (1=100% correct prediction) for each
range, s was predicted every 10 minutes. The accuracy was
measured at each time tick by comparing the predicted tran-                                             day at three different time ranges of 10 minutes per tick: 1 tick
sitional state s against the correct transition between two                                             (10 minutes), 3 ticks (30 minutes) and 6 ticks (60 minutes).
stationary states z0-z1. Table 10 shows the query load for                                       50     Graph   1300 depicts        predictions
                                                                                                                               tick 1             as trace 1310a, tick 2

both types of queries.                                                                                  predictions as trace 13100 and tick 6 predictions as trace
                                                                                                        1310c for        queries of Uscr 1 based on GSM data stream.
                                     TABLE 10                                                           Graph 1320 depicts tick 1 predictions as trace 1330a, tick 2
                                                                                                        predictions as trace            and tick 6 predictions as trace
               Prediction request    (query) load during experiments.                            55     1330c for        queries of User 1 based on WiFi data stream.
                            User                   User 2                  User 3
                                                                                                        Graph   1340 depicts        predictions
                                                                                                                               tick 1             as trace 1350a, tick 2

                                                                                                        predictions as trace 13505 and tick 6 predictions as trace
                                                                                                        1350c for Qt2 queries of User 1 based on GSM data stream.
       Type           Qt           Qt2         Qt         Qt2                       Qt2
                                                                                                        Graph 1360 depicts tick 1 predictions as trace 1370a, tick 2
       GSM            7,973         272       4,832          142       $,292        102          60     predictions as trace 1370 and tick 6 predictions as trace
   WiFi               7,058         359       4,409          181       $,307        124
                                                                                                        1370c for Qt2 queries of User 1 based on WiFi data stream.
                                                                                                           Predictions based on a GSM data stream were not as      good
   ‘These two query types cover many use cases. A non-mov-                                              as those based on a Wik‘ data stream. ‘lhe main reason is that

ing query essentially asks how long a user will be staying in                                           GSM cells cover larger spatial regions. Qtl predictions
the same stationary state, and a moving query asks if user is                                    65     mainly test the self-transitions for different stationary states.
about ta transit and ta which stationary state. If iLac can                                             The stationary states fram a GSM data stream can sometimes
consistently provide accurate prediction for both queries, it                                           mix-up different stationary states if they are nearby. As a



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 result, the self-transition model for GSM is not as good as the                            transitions other than self-transition can be observed. For
 one for WiFi. However, even for GSM, iLoc is still able to                                 instance, state1 is able to transit to state3 with 63% of prob-
 achieve 62% overall accuracy. For WiFi data stream, iLoc                                   ability. However, given the semantic meaning of the states
 performs very well, and achieves 73% overall accuracy.                                     shown in Table 9, they are essentially the same state. Similar
    Some days, the accuracy of predictions for Qt2 queries                                  conclusions can be drawn for other transitions. Therefore, to
 shown in graph 1340 and 1360 is not very good (e.g., close to                              have a fair comparison, only the cluster/stationary states from
 0). After consulting with the users, it turns out that these days                          LDA and HMM are included. As can be observed from the
 mostly weekends and vacations. Predicting these days
                 are                                                           are          results, especially for the query type Qt2, there are some
 challenging due to irregular movements. However, being able                                predictions for HMM and LDA. However, the accuracy is still
 to differentiate these days from normal week days can                               10     far behind the iLoc with default parameters (iLoc-default).
 improve the prediction accuracy for those days. The GSM                                    This can also be observed from the average accuracy for the
 predictions were again worse than WiFi predictions. There-                                 corresponding method listed below the approach name. For
 fore, it is useful for the incremental state learning module                               this set of experiments, since the full set of data is used to train
 stationary state update process to discover the stationary                                 HMM and LDA, any incremental learning methods for HMM
 states accurately.                                                                  15     and LDA cannot outperform the results shown for iLoc. Fur-
    Compared with HMM and TDA in the next set of experi-                                    thermore, being able to easily plug-in different clustering
 ments, it became more evident that iLoc had superior perfor-                               methods, iLoc is more flexible and open.
                                                                                                                   TABLE 11

                                                                                         Prediction accuracies for different approaches and              settings.
                                                                                           User 1                             User 2                                       User 3


                                                           Approach                Qtl                                 Qtl                                    Qt
                                                           average         GSM       WiFi      GSM     WiFi       GSM    WiFi       GSM       WiFi        GSM        WiFi      GSM          WiFi

                                                           iLoc    (def)   62%       73%        25%    84%         62%       64%        26%   44%         71%        79%       68%          81%
                                                           61%
                                                           LDA             49%       72%        18%    22%         55%   71%            6%    2%          61%        68%        5%          11%
                                                           37%
                                                           HMM             42%           66%    42%    21%        46%        64%        20%   8%          58%        73%        2%          21%
                                                           39%
                                                           iLoc-0          59%           65%      9%   42%         61%       67%        6%    25%         70%        74%       42%          41%
                                                           47%
                                                           iLoc-2
                                                           67%
                                                                           68%           72%    27%    90%         61%       63%        35%   50%         73%        79%       94%          91%


                                                           iLoc-5          59%       73%        S8%    95%        48%        60%        52%   72%         68%        79%       81%          93%
                                                           10%
                                                           iLoc-none       68%       76%        10%    16%         66%       66%        13%   35%         83%        R4%        8%          10%
                                                           45%
                                                           iLoc-man        62%       72%        25%    86%         60%       63%        24%               66%        69%       66%          81%
                                                           60%




 mance.                 predictions based on the WiFi data
                 Overall, iLoc                                                                                                     TABLE 12
 stream       able to achieve 84% prediction accuracy, and
                 was
                                                                                                       HMM State transition matrix based             on     Wifi data stream
 GSM stream achieved 25%. Both GSM and WiFi based pre-

                                 reasonablepredictions query time
                                                                                     45
                                                  for
  icti                                              icti                   i




 diction modules made                                                                                       State 1            State 2        State 3           State 4             State 5
 ranges up to an hour. This is sufficient for many application                                                                                                        0,
                                                                                                                                   0,               9,                                 0,

 scenarios, for which predicting a user’s behavior for the next                             See               toe
                                                                                                              3
                                                                                                                              sos,                oor‘O              hos.            toe
             .           .         .   .                   .




                                                                                                                                              0                 0
 hour is extremely helpful for satisfying the user’s information
         .                                  .   .              .               .




                                                                                            State 3           82%               10%               1%                   %             a%

cravings.
   Table 11 shows the overall
                                                                                            State 4
                                                                                            State 5
                                                                                                               0%
                                                                                                                  0%
                                                                                                                             0.50%
                                                                                                                                0%
                                                                                                                                              0.50%
                                                                                                                                                   0%
                                                                                                                                                                     36%
                                                                                                                                                                     56%
                                                                                                                                                                                    63%
                                                                                                                                                                                    44%
                                 accuracy measures for all users
 under different approaches, and different parameter settings.
 The first row shows the accuracies of iLoc with the default                                   The second part of the Table 11 shows the accuracy of iLoc
 parameters (from Table 4). Table 11 easily compares the                                    when the min-support parameter value is varied. Four settings
 performance of different approaches and different parameter                         55     (0%, 1% default, 2% and 5%) are tested, which are labeled
 settings. Table 11 has three parts. In the first part, the perfor-                         iLoc-0, iLoc-default, iLoc-2, and iLoc-5. The higher the min-
 mance of iLoc is compared against HMM and LDA. Both                                        support, the fewer stationary states are considered in the
 HMM and LDA show low accuracies that are not suitable for                                  transition states, and generally the greater the prediction
 this prediction task. LDA only provides clustering informa-                                accuracy. The price for the greater accuracy is not being able
 tion, which can be used as stationary states. HMM requires                          60 to     predict some infrequent movements.
 observations to infer the hidden states, whereas at the query                                 FIG. 14A and FIG. 14B are graphs 1400 and 1450 of
 time instance, future observations are not available yet.                                  number of predictions made for different minimum thresh-
 Although HMM provides transitional probability distribution                                olds for probability of occurrence of a stationary state (called
 for different states, these transitions are mostly for self-tran-                          min support), according to some embodiments. The horizon-
 sitions. The Viterbi algorithm will always end up with the                          65     tal axis 1402 is minimum support in percent (%). The vertical
 same state. To illustrate this, Table 12 shows the transitian                              axis 1402 is number of Qt1 queries allowed; and the vertical
 matrix from a HMM model. From the matrix itself, some                                      axis 1454 is number of Qt2 queries allowed. Graph 1400




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depicts      queries for User 1 as trace 1410a, User 2 as trace          incremental signal data stream processing modules. The effi-
14104 and User 3 as trace            based on the GSM data               ciency of building and storing different user states has been
stream. Graph 1400 also depicts Qtl queries for User 1 as                shown empirically.
trace 1420a, User 2 as trace 14205 and User 3 as trace 1420c             Hardware Descriptions
based on the WiFi data stream. Graph 1450 depicts Qt2 que-                  The processes described herein for incrementally deter-
ries for User 1 as trace 1460a, User 2 as trace 14605 and User           mining location context may be advantageously implemented
3 as trace 1460c based on the GSM data stream. Graph 1450                via software, hardware (e.g., general processor, Digital Sig-
also depicts Qt2 queries for User 1 as trace 1470a, User 2 as            nal Processing (DSP) chip, Application Specific Integrated
                                                                                                    an
trace        and User 3 as trace 1470c based on the WiFi data            Circuit (ASIC), Field Programmable Gate Arrays (FPGAs),
stream.                                                             10   etc.), firmware or a combination thereof. Such exemplary
   As shown in FIG. 14A and FIG. 14B, as min-support                     hardware for performing the described functions is detailed
increases, the number of the queries that can be answered                below.
decreases monotonically. At min-support 0%, iLoc can                        FIG, 16 illustrates a computer system 1600 upon which an
answer a maximum number of queries both for Qtl and Qt2;                 embodiment of the invention may be implemented. Although
however, with the worst accuracy. For Qt1, with min-support         15   computer system 1600 is depicted with respect to a particular
at 1%, iLoc is still able to answer a large portion of queries           device or equipment, it is contemplated that other devices or
with good gain in accuracy. For Qt2, at 1% min-support, the              equipment (e.g., network elements, servers, etc.) within FIG.
number of queries      dropped can be  large   for some settings.        16 can  deploy   the illustrated hardware and components of
However, the accuracy gain is dramatic. As min-support                   system 1600. Computer system 1600 is programmed (e.g.,
keeps increasing (c.g., iLoc-2, and iLoc-5), the number of               via computer program codc or instructions) to incrementally
queries dropped also increases. The accuracy gain is only                determine location context as described herein and includes a
moderate (6% to 9% overall improvements). Therefore, to                  communication mechanism such as a bus 1610 for passing
reach the right balance, a min-support value of 1% was cho-              information between other internal and external components
sen as the default.                                                      of the computer system 1600. Information (also called data) is
   The third part of Table 11 shows the effect of the temporal           represented as a physical expression of a measurable phe-
features. The iLoc-none embodiment uses no temporal fea-                 nomenon, typically electric voltages, but including, in other
tures. The iLoc-none performs badly for Qt2 queries. This is             embodiments, such phenomena as magnetic, electromag-
expected since iLoc-none does not differentiate movements                netic, pressure, chemical, biological, molecular, atomic, sub-
in different time contexts. When morning, afternoon and                  atomic and quantum interactions. For example, north and
night temporal features are added (labeled iLoc-man), the           30   south magnetic fields, or a zero and non-zero electric voltage,
performance improves drastically. ‘lhe performance is further            represent two states (0, 1) of a binary digit (bit). Other phe-
enhanced with the full feature set (labeled iLoc-default).               nomena can represent digits ofa higher base. A superposition
   FIG. 15 is a graph 1500 of average execution time to make             of multiple simultaneous quantum states before measurement
a prediction for moving and non-moving mobile terminals for              represents a quantum bit (qubit). A sequence of one or more
GSM cells and WiFi access points, according to some                 35   digits constitutes digital data that is used to represent a num-
embodiments. The horizontal axis 1502 indicates bins for the             ber or code for a character. In some embodiments, informa-
query and signal data stream. The vertical axis 1504 indicates           tion called analog data is represented by a near continuum of
the execution time in seconds. Bar 1510 indicates the execu-             measurable values within a particular range. Computer sys-
tion time for Qtl queries based on a GSM data stream. Bar                tem 1600, or a portion thereof, constitutes a means for per-
1520 indicates the execution time for Qt2 queries based on a        40   forming one or more steps of incrementally determining loca-
GSM data stream. Bar 1530 indicates the execution time for               tion context.
      queries based on a WiFi data stream. Bar 1540 indicates               A bus 1610 includes one or more parallel conductors of
the execution time for Qt2 queries based on a WiFi data                  information so that information is transferred quickly among
stream. Most of the queries complete within 5 milliseconds.              devices coupled to the bus 1610. One or more processors
With this speed, iLoc can scale nicely as a web service for         45   1602 for processing information are coupled with the bus
many thousands of users.                                                 1610.
   The iLoc framework is an open framework. The illustrated                 A processor 1602 performs a set of operations on informa-
embodiments work well for the mobile signal environment.                 tion as specified by computer program code related to incre-
In other embodiments more sensor inputs are incorporated,                mentally determining location context. The computer pro-
such as accelerometer sensor data to differentiate finer   grain    50   gram code is a set of instructions or statements      providing
movements. In some embodiments, signal strength is incor-                instructions for the operation of the processor and/or the
porated to help identify smaller stationary states.                      computer system to perform spccificd functions. The code,
   The iLoc learning framework captures spatial and tempo-               for example, may be written in a computer programming
ral dimensions, and is able to accurately forecast a user’s              language that is compiled into a native instruction set of the
future locations in fully automatic and incremental fashion.
                   a                                                55   processor. The code may also be written directly using the
Recommendation systems based on iLoc can        accurately push          native instruction set (e.g.,  machine  language).    The set of
relevant information based on the predicted location informa-            operations include bringing information in from the bus 1610
tion. For instance, a system can automatically fetch relevant            and placing information on the bus 1610. The set of opera-
traffic information and prepare routing information when a               tions also typically include comparing two or more units of
user is about to transit to another stationary state (e.g., from    60   information, shifting positions of units of information, and
work to home) without any command from the user. Alterna-                combining two or more units of information, such as by
tively,  a system can   smartly push    advertisements that are          addition or  multiplication    orlogical operations    like OR,
related to different stationary states (e.g., push lunch coupons         exclusive OR (XOR), and AND. Each operation of the set of
when a user is about to go to lunch). In order to generate               operations that can be performed by the processor is repre-
values for millions of users, a system should be able to scale      65   sented to the processor by information called instructions,
linearly with the amount of information received. It has been            such as an operation cade of one or more digits. A sequence of
shown that iLoc is able to satisfy this requirement due to its           operations to be executed by the processor 1602, such as a



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sequence of   operation   codes, constitute processor instruc-              which a variety of external devices with their own processors
tions, also called computer system instructions        or,   simply,        are connected. For example, communication interface 1670

computer    instructions. Processors may be implemented as                  may be parallel port oraserial port or a universal serial bus
                                                                                   a
mechanical, electrical, magnetic, optical, chemical or quan-                (USB) port on a personal computer. In some embodiments,
tum components, among others, alone or in combination.                      communications interface 1670 is an integrated services digi-
   Computer system 1600 also includes a memory 1604                         tal network (ISDN) card or a digital subscriber line (DSL)
coupled to bus 1610. The memory 1604, such as a random                      card or a telephone modem that provides an information
access memory (RAM) or other dynamic storage device,                        communication connection to a corresponding type of tele-
stores information including processor instructions for incre-              phone line. In some embodiments, a communication interface
mentally determining location context. Dynamic memory                  10   1670 is a cable modem that converts signals on bus 1610 into
allows information stored therein to be changed by the com-                 signals for a communication connection over a coaxial cable
puter system 1600. RAM allows a unit of information stored                  or into optical signals for a communication connection over a
at a location called a memory address to be stored and                      fiber optic cable. As another example, communications inter-
retrieved independently of information at neighboring                       face 1670 may be local area network (LAN) card to provide
                                                                                               a
addresses. The memory 1604 is also used by the processor               15   a data communication connection to acompatible LAN, such
1602 to store temporary values during execution of processor                as Ethernet. Wireless links may also be implemented. For
instructions. The computer system 1600 also includes a read                 wireless links, the communications interface 1670 sends or
only memory (ROM) 1606 or other static storage device                       receives or both sends and receives electrical, acoustic or
coupled to the bus 1610 for storing static information, includ-             electromagnetic signals, including infrared and optical sig-
ing instructions, that is not changed by the computer system                nals, that carry information streams, such as digital data. For
1600. Some memory is composed of volatile storage that                      example, in wireless handheld devices, such as mobile tele-
loses the information stored thereon when power is lost. Also               phones like cell phones, the communications interface 1670
coupled to bus 1610 is a non-volatile (persistent) storage                  includes a radio band electromagnetic transmitter and
device 1608, such as a magnetic disk, optical disk or flash                 receiver called a radio transceiver. In certain embodiments,
card, for storing information, including instructions, that per-            the communications interface 1670 enables connection to the
sists even when the computer system 1600 is turned off or                   communication network 105 for obtaining signal data
otherwise loses power.                                                      streams from the UE 101.
   Information, including instructions for incrementally                       The term computer-readable medium is used herein to refer
determining location context, is provided to the bus 1610 for               to any medium that participates in providing information to
use by the processor from an external input device 1612, such          30   processor 1602, including instructions for execution. Such a
as a   keyboard containing alphanumeric keys operated by a                  medium may take many torms, including, but not limited to,
human user, or a sensor. A sensor detects conditions in its                 non-volatile media, volatile media and transmission media.
vicinity and transforms those detections into physical expres-              Non-volatile media include, for example, optical or magnetic
sion campatible with the measurable phenomenon used to                      disks, such as storage device1608. Volatile media include, for
represent information in computer system 1600. Other exter-            35   example, dynamic memory 1604. Transmission media
nal devices coupled to bus 1610, used primarily for interact-               include, for example, coaxial cables, copper wire, fiber optic
ing with humans, include a display device 1614, such as a                   cables, and carrier waves that travel through space without
cathode ray tube (CRT) or a liquid crystal display (LCD), or                wires or cables, such as acoustic waves and electromagnetic
plasma screen or printer for presenting text or images, anda                waves, including radio, optical and infrared waves. Signals
pointing device 1616, such as a mouse or a trackball or cursor         40   include man-made transient variations in amplitude, fre-
direction keys, or motion sensor, for controlling a position of             quency, phase, polarization or other physical properties trans-
  small cursor image presented on the display 1614 and issu-                mitted through the transmission media. Common forms of
ing commands associated with graphical elements presented                   computer-readable media include, for example, a floppy disk,
on the display 1614. In some embodiments, for example, in                   a flexible disk, hard disk, magnetic tape, any other magnetic
embodiments in which the computer system 1600 performs                 45   medium, a CD-ROM, CDRW, DVD, any other optical
all functions automatically without human input, one or more                medium, punch cards, paper tape, optical mark sheets, any
of external input device 1612, display device 1614 and point-               other physical medium with patterns of holes or other opti-
ing device 1616 is omitted.                                                 cally recognizable indicia, a RAM, a PROM, an EPROM, a
   In the illustrated embodiment, special purpose hardware,                 FLASH-EPROM, any other memory chip or cartridge, a car-
such as an    application specific integrated  circuit (ASIC)          50   rier wave, or any other medium from which a computer can
1620, is coupled to bus 1610. The special purpose hardware is               read. The term computer-readable storage medium is used
configured to perform opcrations not performed by processor                 hercin to refer to any computcr-readable medium cxccpt
1602 quickly enough for special purposes. Examples of appli-                transmission media.
cation specific ICs include graphics accelerator cards for                     Logic encoded in one or more tangible media includes one
generating images for display 1614, cryptographic boards for           55   or both of processor instructions on a computer-readable

encrypting and decrypting messages sent over a network,                     storage media and special purpose hardware, such as ASIC
speech recognition, and interfaces to special external devices,             1620.
such as robotic arms and medical scanning equipment that                       Network link 1678   typically provides information commu-
repeatedly perform some complex sequence of operations                      nication   using
                                                                                          transmission media     through one or more net-
that are more efficiently implemented in hardware.                     60   works to other devices that use or process the information. For
   Computer system 1600 also includes one or more instances                 example, network link 1678 may provide a connection
of a communications interface 1670 coupled to bus 1610.                     through local network 1680 to a host computer 1682 or to
Communication interface 1670 provides a one-way or two-                     equipment 1684 operated by an Internet Service Provider
way communication coupling to a variety of external devices                 CSP). ISP equipment 1684 in turn provides data communi-
that operate with their own processors, such as printers, scan-        65   cation services through the public, world-wide packet-
ners and external disks. In general the coupling is with a                  switching communication network of networks now com-
network link 1678 that is connected to   a   local network 1680 to          monly referred to as the Internet 1690.



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   A computer called a server host 1692 connected to the                memory components described with respect to FIG. 16 incor-
Internet hosts a process that  provides
                                     a service in response to           porated in one or more physical packages (e.g., chips). By
information received over the Internet. For    example,server           way of example, a physical package includes an arrangement
host 1692 hosts a process that  provides  information repre-            of one or more materials, components, and/or wires on a
senting  video data for  presentation display
                                      at          1614. It is           structural assembly (e.g., a baseboard) to provide one or more
contemplated   that the components of system 1600 can be                characteristics such as physical strength, conservation of size,
deployed   in various  configurationswithin other computer              and/or limitation of electrical interaction. It is contemplated
systems, e.g., host 1682 and server 1692.                               that in certain embodiments the chip set can be implemented
   At least some embodiments of the invention are related to            in a single chip. Chip set 1700, or a portion thereof, consti-
the use of computer system 1600 for       implementing
                                                     some or       10   tutes a means for performing one or more steps of incremen-
all of the techniques described herein. According to one                tally determining location context.
embodiment of the invention, those techniques are performed                In one embodiment, the chip set 1700 includes a commu-
by computer system 1600 in response to processor 1602                   nication mechanism such as a bus 1701 for passing informa-
executing one or more sequences of one or more processor                tion among the components of the chip set 1700. A processor
instructions contained in memory 1604. Such instructions,          15   1703 has connectivity to the bus 1701 to execute instructions
also called computer instructions, software and program                 and process information stored in, for example, a memory
code, may be read into memory 1604 from another computer-               1705. The processor 1703 may include one or more process-
readable medium such as storage device 1608 or network link             ing cores with each core configured to perform indepen-
1678. Execution of the sequences of instructions contained in           dently. A multi-core processor enables multiprocessing
memory 1604 causes processor 1602 to perform onc or more                within a single physical package. Examples of a multi-core
of the method steps described herein. In alternative embodi-            processor include two, four, eight, or greater numbers of
ments, hardware, such as ASIC 1620, may be used in place of             processing cores. Alternatively or in addition, the processor
or in combination with software to implement the invention.             1703 may include one or more microprocessors configured in
Thus, embodiments of the invention are not limited to any               tandem via the bus 1701 to enable independent execution of
specific combination of hardware and software, unless other-            instructions, pipelining, and multithreading. The processor
wise explicitly stated herein.                                          1703 may also be accompanied with one or more specialized
   The signals transmitted over network link 1678 and other             components to perform certain processing functions and
networks through communications interface 1670, carry                   tasks such as one or more digital signal processors (DSP)
information to and from computer system 1600. Computer                  1707, or one or more application-specific integrated circuits
system 1600 can send and receive information, including            30   (ASIC) 1709. A DSP 1707 typically is configured to process
program code, through the networks 1680, 1690 among oth-                real-world signals (e.g., sound) in real time independently of
ers, through network link 1678 and communications interface             the processor 1703. Similarly, an ASIC 1709 can be config-
1670. In an example using the Internet 1690, a server host              ured to performed specialized functions not easily performed
1692 transmits program code for a particular application,               by a general purposed processor. Other specialized compo-
requested by a message sent from computer 1600, through            35   nents to aid in performing the inventive functions described
Internet 1690, ISP equipment 1684, local network 1680 and               herein include one or more field programmable gate arrays
communications interface 1670. The received code may be                 (FPGA) (not shown), one or more controllers (not shown), or
executed by processor 1602 as it is received, or may be stored          one or more other special-purpose computer chips.
in memory 1604 or in storage device 1608 or other non-                     The processor 1703 and accompanying components have
volatile storage for later execution, or both. In this manner,     40   connectivity to the memory 1705 via the bus 1701. The
computer system 1600 may obtain application program code                memory 1705 includes both dynamic memory (e.g., RAM,
in the form of signals on a carrier wave.                               magnetic disk, writable optical disk, etc.) and static memory
   Various forms of computer readable media may be                      (e.g., ROM, CD-ROM, etc.) for storing executable instruc-
involved in carrying one or more sequence of instructions or            tions that when executed perform the inventive steps
data or both to processor 1602 for execution. For example,         45   described herein to incrementally determine location context.
instructions and data may initially be carried on a magnetic            The memory 1705 also stores the data associated with or
disk of a remote computer such as host 1682. The remote                 generated by the execution of the inventive steps.
computer loads the instructions and data into its dynamic                  FIG.     is a diagram of exemplary components of a mobile
memory and sends the instructions and data over a telephone             terminal (e.g., handset) for communications, which is capable
line using a modem. A modem local to the computer system           50   of operating in the system of FIG. 1, according to one embodi-
1600 receives the instructions and data on a telephone line             ment. In some embodiments, mobile terminal 1800, or a
and uscs an infra-red transmitter to convert the instructions           portion thercof, constitutes a mcans for performing onc or
and data to a signal on an infra-red carrier wave serving as the        more steps of incrementally determining location context.

network link 1678. An infrared detector serving as commu-               Generally, a radio receiver is often defined in terms of front-
nications interface 1670 receives the instructions and data        55   end and back-end characteristics. The front-end of the
carried in the infrared signal and places information repre-            receiver encompasses all of the Radio Frequency (RF) cir-
senting the instructions and data onto bus 1610. Bus 1610               cuitry whereas the back-end encompasses all of the base-
carries the information to memory 1604 from which proces-               band processing circuitry. As usedin this application, the term
sor 1602 retrieves and executes the instructions using some of          “circuitry” refers to both: (1) hardware-only implementations
the data sent with the instructions. The instructions and data     60   (such as implementations in only analog and/or digital cir-
received in memory 1604 may optionally be stored on storage             cuitry), and (2) to combinations of circuitry and software
device 1608, either before or after execution by the processor          (and/or firmware) (such as to a combination of processor(s),
1602.                                                                   including digital signal processor(s), software, and
  FIG. 17 illustrates a chip
                           set 1700 upon which an embodi-               memory(ies) that work together to cause an apparatus, such as
                        implemented. Chip
ment of the invention may be                    set 1700 is        65   a mobile phone or server, to perform various functions). This

programmed incrementally
              to              determine location context as             definition of “circuitry” applies to all uses of this term in this
described herein and includes, for instance, the processor and          application, including in any claims. As a further example, as



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used in this application, the term “circuitry” would also cover          and  optionally sent to an antenna coupler 1835 to match
an implementationof merely a processor (or multiple proces-              impedances to provide maximum power transfer. Finally, the
                       accompanying software/or firmware.
sors) and its (or their)                                                 signal is transmitted via antenna 1817 toa local base station.
The term “circuitry” would also cover, for example, a base-              An automatic gain control (AGC) can be supplied to control
band integrated circuit or applications processor integrated             the gain of the final stages of the receiver. The signals may be
circuit in a mobile phone ora similar integrated circuit in a            forwarded from there to a remote telephone which may be
cellular network device or other network devices.                        another cellular telephone, other mobile phone or a land-line
   Pertinent internal components of the telephone include a              connected to a Public Switched Telephone Network (PSTN),
Main Control Unit (MCU) 1803, a Digital Signal Processor                 or other telephony networks.
(DSP) 1805, and a receiver/transmitter unit including a             10
                                                                            Voice signals transmitted to the mobile terminal 1801 are
microphone gain control unit and a speaker gain control unit.            received via antenna 1817 and immediately amplified by a
A main display unit 1807 provides a display to the user in
                                                                         low noise amplifier (LNA) 1837. A down-converter 1839
support of various applications and  mobileterminal    functions
                                                                         lowers the carrier frequency while the demodulator 1841
that perform or support the steps of incrementally determin-
ing location context. The display unit 1807 includes display        15   strips away the RF leaving only a digital bit stream. The signal
                                                                         then goes through the equalizer 1825 and is processed by the
circuitry configured to display at least a portion of a user             DSP 1805. A Digital to Analog Converter (DAC) 1843 con-
interface of the mobile terminal (e.g., mobile telephone).
                                                                         verts the signal and the resulting output is transmitted to the
Additionally,  the display unit 1807 and   display circuitry  are
                                                                         user through the speaker 1845, all under control of a Main
configured to facilitate user control of at least some functions
of the mobile terminal. An audio function circuitry 1809                 Control Unit (MCU) 1803—-which can be implemented as a
includes a microphone 1811 and microphone amplifier that                 Central Processing Unit (CPU) (not shown).
amplifies the speech signal output from the microphone 1811.                The MCU 1803 receives various signals including input
The amplified speech signal output from the microphone                   signals from the keyboard 1847. The keyboard 1847 and/or
1811 is fed to a coder/decoder (CODEC) 1813.                             the MCU 1803 in combination with other user input compo-
   A radio section 1815 amplifies power and converts fre-                nents (e.g., the microphone 1811) comprisea user interface
quency in order to communicate with a base station, which is             circuitry for managing user input. The MCU 1803 runs a user
included in a mobile communication system, via antenna                   interface software to facilitate user control of at least some
1817. The power amplifier (PA) 1819 and the transmitter/                 functions of the mobile terminal 1801 to send user input or a
modulationcircuitry   are operationally responsive to the MCU
                                                                         signal data stream to incrementally determine location con-
1803, with an output from the PA 1819 coupled to the                30
                                                                         text. The MCU 1803 also delivers a display command and a
duplexer 1821 or circulator or antenna switch, as known in the           switch command to the display 1807 and to the speech output
art. The PA 1819 also couples to a battery interface and power
control unit 1820.                                                       switching controller, respectively. Further, the MCU 1803
   In use, a user of mobile terminal 1801 speaks into the                exchanges information with the DSP 1805 and can access an
microphone 1811   andhis   or her voice along with any detected     35   optionally incorporated SIM card 1849 and a memory 1851.
                                                                         In addition, the MCU 1803 executes various control functions
background noise is converted into an analog voltage. The
analog voltage is then converted into a digital signal through           required of the terminal. The DSP 1805 may, depending upon
the Analog to Digital Converter (ADC) 1823. The control unit             the implementation, perform any of a variety of conventional
1803 routes the digital signal into the DSP 1805 for process-            digital processing functions on the voice signals. Addition-
ing therein, such as speech encoding, channel encoding,             40   ally, DSP 1805 determines the background noise level of the
encrypting, and interleaving. In one embodiment, the pro-                local environment from the signals detected by microphone
cessed voice signals are encoded, by units not separately                1811 and sets the gain of microphone 1811 to a level selected
shown, using a cellular transmission protocol such as global             to compensate for the natural tendency of the user of the
evolution (EDGE), general packet radio service (GPRS), glo-              mobile terminal 1801.
bal system for mobile communications (GSM), Internet pro-           45      The CODEC 1813 includes      the ADC    1823 and DAC 1843.
tocol multimedia subsystem (IMS), universal mobile tele-                 The memory 1851 stores various data including call incoming
communications system (UMTS), etc., as well as any other                 tone data and is capable of storing other data including music
suitable wireless medium, e.g., microwave access (WiMAX),                data received via, e.g., the global Internet. The software mod-
Long Term Evolution (LTE) networks, code division multiple               ule could reside in RAM memory, flash memory, registers, or
access (CDMA), wideband code division          multiple   access    50   any other form of writable storage medium known in the art.
(WCDMA), wireless fidelity (WiFi), satellite, and the like.              The memory device 1851 may be, but not limited to, a single
   The encoded signals are then routed to an equalizer 1825              memory, CD, DVD, ROM, RAM, EEPROM, optical storage,
for compensation of any frequency-dependent impairments                  or any other non-volatile storage medium capable of storing

that occur during transmission though the air such as phase              digital data.
and amplitude distortion. After equalizing the bit stream, the      55      An optionally incorporated SIM card 1849 carries, for
modulator 1827 combines the      signal with a RF  signal gener-         instance, important information, such as the cellular phone
ated in the RF interface 1829. The modulator 1827 generates              number, the carrier supplying service, subscription details,
a sine wave by way of frequency or phase modulation. In                  and security information. The SIM card 1849 serves prima-
order to prepare the signal for transmission, an up-converter            rily to identify the mobile terminal 1801 ona radio network.
1831 combines the sine wave output from the modulator 1827          60   The card 1849 also contains a memory for storing a personal
with another sine wave generated by a synthesizer 1833 to                telephone number registry, text messages, and user specific
achieve the desired  frequency   of transmission. The   signal is        mobile terminal settings.
then sent through a PA 1819 to increase the signal to an                    While the invention has been described in connection with
appropriate power level. In practical systems, the PA 1819               a number of embodiments and implementations, the inven-
acts as a variable gain amplifier whose gain is controlled by       65   tion is not so limited but covers various obvious modifications
the DSP 1805 from information received from a network base               and equivalent arrangements, which fall within the purview
station. The signal is then filtered within the duplexer 1821            of the appended claims. Although features of the invention are




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expressed in certain combinations among the claims, it is                     9. A method of claim 4, wherein        delivering the service to
contemplated that these features can be arranged in any com-               the mobile device based on the       stationary state further com-
bination and order.                                                        prises determining a type of service based ona transition state
   What is claimed is:                                                     that includes the stationary state.
   1. A method comprising:                                                          method of claim 4, further comprising predicting the
   causing at least in part a receiving of signal data that indi-          transition state by:
       cates a set of one or more distinct signal sources from
       which signals are received at a mobile device for each of
                                                                              determining a most probable transition state at the current
                                                                                time; and
       a plurality of different times;
                                                                             determining a most probable transition state at a future
   determining whether the mobile device is moving outside            10
                                                                               time given the most probable transition state at the cur-
       specified area at a current time of the plurality of differ-              rent time.
       ent times based on the signal data;
                                                                              11. An apparatus comprising:
   if the mobile device is determined to be not moving outside
                                                                              at least one processor; and
       the specified area, then causing at least in part an incre-
                                                                              at least one memory including computer instructions, the at
       menting of a count for a stationary state associated with      15
                                                                                  least one memory and computer instructions configured
       the set of one or more distinct signal sources at the
     current   time;                                                             to, with the at least one processor, cause the apparatus at
                                                                                  least to:
  determining a primary set of stationary states, each station-
                                                                                  cause at least in part a receiving of signal data that
    ary state in the primary set associated with a frequently
      incremented count for onc or more similar scts of onc or                       indicates a set of one or more distinct signal sources
     more   distinct signal sources when the mobile device is                        from which signals are received at a mobile device for
      not moving outside the specified area and                                      each of a plurality of different times;
   causing at least in part initiation of delivery of a service to                determine whether the mobile device is moving outside
      the mobile device based on the stationary state.                               a specified area at a current time of the plurality of
   2. A method of claim 1, wherein determining whether the                           different times based on the signal data;
mobile device is moving outside the specified area comprises                      if the mobile device is determined to be not moving
determining whether a measure of similarity, between a first                         outside the specified urea, then incrementing a
set of one or more distinct signal sources in a time window                          counter for a stationary state associated with the sect of
ending at the current time and a second set of one or more                           one or more distinct signal sources at the current time;
distinct signal sources in a time window ending at a time             30
                                                                                  determine a primary set of stationary states, each sta-
earlier than the current time, is below a movement threshold.
   3. A method of claim 1, wherein incrementing the count for                        tionary state in the primary set associated with a fre-
the stationary state further comprises:                                              quently incremented count for one or more similar
                                                                                     sets of one or more distinct signal sources when the
   determining a conditional probability for each wireless                           mobile device is not moving outside the specified
      transmitter of the set of wireless transmitters given an        35
                                                                                     area; and
     extantstationary state;                                                      cause at least in part initiation of delivery of a service to
  determining a conditional probability for the extant sta-                          the mobile device based on the stationary state.
    tionary state given the set of one or more distinct signal                12. An apparatus of claim 11, wherein determining
     sources based     the conditional probability for each
                       on
      wireless transmitter of the set of wireless transmitters        40   whether the mobile device is moving outside the specified
                                                                           area comprises determining whether a measure of similarity,
      given the extant stationary state; and
   updating a count of the extant stationary state if the condi-           between a first set of one or more distinct signal sources in a
      tional probability for the extant state given the set of one         time window ending at the current time and a second set of
      or more distinct signal sources is greater than a cluster            one or more distinct signal sources in a time window ending
      threshold.                                                      45   at a time earlier than the current time, is below a movement
   4. A method of claim 1, further comprising determining a                threshold.
transition state associated with a change from first station-
                                                  a                           13. An apparatus of claim 11, wherein incrementing the
ary state to a second stationary state of the primary set of               count for the stationary state further comprises:
stationary states.                                                            determining a conditional probability for each wireless
   5. A method of claim 4, wherein the first   stationarystate is     50
                                                                                 transmitter of the set of wireless transmitters given an
identical to the second secondary state.
                                                                               extant stationary state;
   6. A method of claim 4, whercin determining the transition
state further comprises incrementing a count for the transition
                                                                             determining a conditional probability for the extant sta-
state, wherein the count is associated with duration in the first
                                                                               tionary state given the set of one or more distinct signal
                                                                               sources based on the conditional probability for each
stationary state and a timing context when the transition state       55
                                                                                wireless transmitter of the set of wireless transmitters
is determined.
   7. A method of claim 4, further comprising predicting the                    given the extant stationary state; and
transition state based on a last stationary state before the                  updating a count of the extant stationary state if the candi-
current time and a time context for the current time and a                      tional probability for the extant state given the set of one
                                                                                or more distinct signal sources is greater than a cluster
history of occurrence of the transition state, wherein deliver-       60
ing the service to the mobile device based on the stationary                    threshold.
state further  comprises delivering  the service based on the                 14. An apparatus of claim 11, the at least one memory and
predicted transition state.                                                computer instructions further configured to, with the at least
   8. A method of claim 1, wherein delivering the service to               one processor, cause the apparatus at least to determine a
the mobile device based on the stationary state further com-          65   transition state associated with a change from first station-
                                                                                                                              a
prises determining a type of service based an communica-                   ary state to a second stationary state of the primary set of
tions by the user during the stationary state.                             stationary states.



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                                  39                                            40
  15. An apparatus of claim 14, the at least one memory and
computer instructions further       configured
                                          to, with the at least
one   processor,   cause   the   apparatus   at least to   predict   the
transition state by:
  determining a most probable transition state at the current              5
      time; and
  determining a most probable transition state at a future
    time given the most probable transition state at the cur-
      rent time.
                                                                           10




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